                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

IN RE: CROP PROTECTION PRODUCTS          )
LOYALTY    PROGRAM    ANTITRUST          )           1:23-md-3062
LITIGATION                               )

                       MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, District Judge.

        In this multi-district litigation putative class action, a

dozen     farmers    allege   that    two    major      manufacturers     of   crop

protection products used by farmers have employed anticompetitive

loyalty rebate programs.          Relief is sought under federal antitrust

law as well as the law of 38 states and territories and the District

of Columbia.         Before the court is the motion to dismiss by

Defendants     Syngenta   Crop Protection         AG,    Syngenta     Corporation,

Syngenta Crop Protection, LLC, and Corteva, Inc.                       (Doc. 94.)

Plaintiffs Clint Meadows, Michael Shows, Matt Taylor, John W.

Jenkins, Clifton Kirven, Janie Yeargin, Ronald Yeargin, Donald F.

Deline, Peter F. Bonin, Robert Ott, Bernard “B” Jones IV, and

Martin Wait, all farmers who are alleged purchasers of Defendants’

products, have responded in opposition (Doc. 110), and Defendants

have replied (Doc. 124).          The court heard argument on the motion

on August 29, 2024.        (See Doc. 156.)        For the reasons set forth

below, the motion will be granted in part and denied in part.

I.      BACKGROUND

        In a related public enforcement action, the Federal Trade


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Commission and a dozen states (“FTC Plaintiffs”) have alleged

substantially       similar     violations     of     antitrust        and     consumer

protection laws by these same Defendants. See generally Fed. Trade

Comm’n v. Syngenta Crop Prot. AG, 711 F. Supp. 3d 545, No.

1:22CV828, 2024 WL 149552 (M.D.N.C. Jan. 12, 2024).                    In brief, the

FTC Plaintiffs allege that the Defendants have excluded generic

manufacturers       of    certain     active    ingredient       crop        protection

products (“CPPs”) by paying loyalty discounts to distributors

contingent on their purchasing 85% or more of their products from

the respective Defendant, in addition to other alleged means of

exclusion.        Id. at 556-61.        In the motion to dismiss in that

action,     the    Defendants       principally      contended       that     the   FTC

Plaintiffs failed to plead a plausible product market and that the

loyalty discount programs are per se reasonable under the “price-

cost test” because, in the Defendants’ view, price is the clearly

predominant       means   of    exclusion      for    their    loyalty        discount

programs.    Id. at 565-79.         The court denied the motion to dismiss,

holding that the FTC Plaintiffs had stated plausible claims for

relief.     Id. at 565-86.

     Here,    the    United    States    Judicial      Panel    on     Multidistrict

Litigation consolidated for pretrial proceedings eight separate

actions filed in the Southern District of Indiana with two separate

actions filed in this district, as well as several tag along

actions.     In re Crop Protection Prods. Loyalty Program Antitrust

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Litig., 655 F. Supp. 3d 1380 (J.P.M.L. 2023); (Docs. 1, 2, 12,

77.)     Pursuant to this court’s case management order (Doc. 31),

Plaintiffs filed a consolidated complaint on September 5, 2023

(Doc. 78).

       Citing judicial efficiency, Defendants do not pursue the same

arguments as those raised in the public enforcement action.                       (Doc.

95 at 15 n.1.)        Instead, they challenge whether Plaintiffs may

pursue    antitrust     claims   against        them   as    purported       “indirect

purchasers” of CPPs under Illinois Brick Company v. Illinois, 431

U.S. 720 (1977), and whether Plaintiffs have sufficiently alleged

proximate    cause    under     Lexmark       International,      Inc.      v.   Static

Control Components, Inc., 572 U.S. 118 (2014).                    (Doc. 95 at 22.)

Defendants also raise myriad challenges to the state law claims.

       Plaintiffs’ consolidated complaint (“the complaint”) (Doc.

78) spans 765 paragraphs.        The facts alleged that are necessary to

the disposition of this motion, and which the court accepts as

true for the purpose of this motion, show the following:

       Plaintiffs are crop farmers from Missouri, Illinois, Florida,

Texas,     Tennessee,     Wisconsin,          California,        Mississippi,       and

Arkansas.    (Doc. 78 ¶¶ 18-28.)          Each Plaintiff has purchased CPPs

from at least one Defendant.            (Id.)

       Defendant     Syngenta    Crop    Protection         AG   is   a   corporation

organized under the laws of Switzerland, with its headquarters in

Basel, Switzerland.       (Id. ¶ 29.)          Defendant Syngenta Corporation

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is a corporation organized under the laws of Delaware, with its

headquarters in Wilmington, Delaware, and is a corporate affiliate

of Syngenta Crop Protection AG.             (Id. ¶ 30.)      Defendant Syngenta

Crop Protection, LLC is a limited liability company organized under

the laws of Delaware, with its headquarters in Greensboro, North

Carolina, and is a corporate affiliate of Syngenta Crop Protection

AG.   (Id. ¶ 31.)   For ease of reference only, the three Syngenta

Defendants are collectively referred to as “Syngenta” herein.

      Defendant   Corteva,     Inc.     (“Corteva”)       is    a     publicly-held

corporation   organized    under      the     laws   of    Delaware,      with   its

headquarters in Indianapolis, Indiana.               (Id. ¶ 36.)       Corteva was

formed in 2015 after the 2011 merger of Dow Chemical Co. and

DuPont.    (Id. ¶ 37.)    In 2019, DowDuPont spun off Corteva into a

separate company.    (Id.)

      Defendants produce CPPs, which are pesticides.                   (Id. ¶ 41.)

Defendants are two of the top agrochemical companies in the world.

(Id. ¶ 61.)   In the “traditional distribution channel,” Defendants

sell CPPs to distributors, the seven largest of which are Helena

Agri-Enterprises,    Nutrien       Ag       Solutions,     Growmark,       WinField

Solutions, J.R. Simplot Company, Wilbur-Ellis, and CHS Inc.                      (Id.

¶ 63.)    These distributors own and operate retail businesses that

then sell the CPPs to farmers.          (Id. ¶ 64.)       Ninety percent of CPP

sales run through the traditional distribution channel, and ninety

percent of traditional distribution channel sales run through the

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above-mentioned seven distributors.             (Id. ¶ 66.)     This means that

eighty   percent    of     total    CPP   sales    run   through     these   seven

distributors.      (Id.)     Plaintiffs allege that economies of scale

make the traditional distribution channel efficient and that there

are “no viable, cost-effective alternatives” to it.                  (Id. ¶ 68.)

     Each CPP contains at least one active ingredient, or “AI,” to

kill or control pests.           (Id. ¶ 42.)       Inert ingredients, on the

other hand, do not kill pests but may have other functions, such

as facilitating application to the crop or improving the CPP’s

shelf life.     (Id. ¶ 43.)        AIs are not generally interchangeable;

rather, they are said to differ in several ways, including:

     (1) what crop or crops they are suited for and registered
     to be used on, which may correlate with geography; (2)
     when in the growing cycle they may be used; (3) whether
     they are used in herbicides, insecticides, or fungicide;
     (4) what specific pest(s) they are designed to target;
     (5) their efficacy in protecting crops from pests, which
     is often measured in terms of crop yield improvements;
     and (6) their suitability for use in different
     locations, weather, or climates.
(Id. ¶ 46.)

     Developers     of     new   AIs   obtain     exclusive   use    through   two

mechanisms.     First, under patent law, a developer can obtain 20-

year patent protection.            (Id. ¶ 51.)     Second, under the Federal

Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C.

§ 136 et seq., a developer of an AI must submit environmental

impact data to the U.S. Environmental Protection Agency prior to

sale or distribution in the United States.                 Upon approval, the


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developer      obtains    the    exclusive          right    to   use     the      data   that

supported its EPA submission for ten years; this “serves as a

separate exclusivity period in which other companies cannot use

the active ingredient.”            (Id. ¶¶ 52-53.)              After FIFRA protection

expires for a registered AI, a third-party may register a product

on a fast track if it is “identical or substantially similar” to

the AI whose registration has expired.                 (Id. ¶ 57.)           These “generic

registrants” rely on the data submitted on the primary registration

and make data compensation payments to the primary registrant.

(Id.)

       Every    AI   relevant         to     this    action       has     at     least    one

corresponding generic registration. (Id. ¶ 58.) Plaintiffs allege

that a generic version of a brand name CPP that shares the same

AI(s) is a “substitute” because it is “chemically identical.” (Id.

¶   48.)       However,     CPPs      that    contain       different        AIs    are    not

“reasonable substitutes.”             (Id.)       Plaintiffs allege that generic

CPPs    are    “generally      sold    at    significantly         lower       prices     than

equivalent branded products.”                  (Id. ¶ 59.)            For that reason,

generic entry would “spark price competition” and “cause the price

and    sales   volume     of    branded      products       —   and     thus Defendants’

profits — to decline.”           (Id.)

       The core of Plaintiffs’ claims in this action pertains to

Defendants’ alleged employment of a “generic defense” strategy to

prevent the entry of generics into the market for certain AIs.

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(Id.)1       Though the details of Syngenta’s and Corteva’s respective

programs are alleged in detail in the complaint (id. ¶¶ 89-193),

Defendants’         principal       positions     on     this     motion     are    not

particularized as to any Defendant or AI.

       By way of an overview of the programs, which Plaintiffs allege

“work in essentially the same way,” Defendants have entered into

“loyalty agreements” with major distributors, distributor-owned

retailers, and other authorized retailers that sell their CPPs.

(Id.     ¶   71.)     Under    a    loyalty    agreement,       Defendants    offer      a

substantial payment, conditioned on the distributor’s limiting its

purchase in a given year of generic CPPs containing a specified

post-patent AI.        (Id.)       The “loyalty threshold” to qualify for the

loyalty discount is expressed as a percentage of the distributor’s

total purchase of the AI.               (Id.)     The loyalty thresholds have

generally ranged from eighty-five percent to ninety-nine percent,

and the incentive payments range from two percent to ten percent

of total sales.        (Id. ¶¶ 96-97, 121, 155.)            Plaintiffs allege that

Defendants also offer additional loyalty payments for bundles of

several AIs, or AIs and other crop-related products, such as seeds

and fertilizers.         (Id. ¶¶ 76, 77.)

       In     addition    to    offering       loyalty     discounts,      Defendants




1 As to Syngenta, these AIs are azoxystrobin, mesotrione, metolachlor,
fomesafen, paraquat, and lambda-cyhalothrin; as to Corteva, these AIs
are rimsulfuron, oxamyl, and acetochlor. (Doc. 78 ¶ 69.)

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“closely monitor” distributors’ sales to ensure compliance through

an electronic data interchange.            (Id. ¶ 79.)    Further, Defendants

have allegedly “threatened to punish distributors and retailers

who fail to meet their loyalty thresholds by canceling contracts,

temporarily denying access to certain products, and/or declining

to supply the distributor or retailers with needed products.” (Id.

¶   81.)    Defendants    have    allegedly    followed      through    on   these

threats.    (Id. ¶ 82.)

       Plaintiffs allege that incontestable demand for Defendants’

CPPs make the cost of being penalized by not meeting the loyalty

thresholds financially unacceptable.              (Id. ¶ 78.)        Defendants’

distributors and retailers have therefore “strictly manage[d]”

their purchase of generic CPPs, steered customers toward loyalty-

compliant     CPPs,   curtailed     marketing      efforts    associated      with

generic CPPS, and even removed generic products from their price

lists altogether.        (Id. ¶ 85.)        As a result of these loyalty

programs, Defendants allegedly maintain prices above those that

would prevail in a competitive market.            (Id. ¶ 88.)       Moreover, the

programs have “substantially impeded” generic entry for each AI

subject to this action.          (Id. ¶ 87.)      Plaintiffs allege that the

above-mentioned seven major distributors, their retailers, and

others are co-conspirators in Defendants’ anticompetitive conduct.

(Id. ¶ 38.)

       Plaintiffs plead fifty-eight claims for relief on behalf of

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themselves and those similarly situated.          The three federal claims

arise under sections 1 and 2 of the Sherman Act, 15 U.S.C. § 1, 2,

and section 3 of the Clayton Act, 15 U.S.C. § 14.                  (Id. ¶¶ 272-

292.)       For each federal claim, Plaintiffs seek damages under

section 4 of the Clayton Act, 15 U.S.C. § 15, and injunctive relief

under section 16 of the Clayton Act, 15 U.S.C. § 26.               (Id. ¶¶ 280-

81,   286, 292.)       The   remaining   claims    arise    under    antitrust,

consumer protection, and unfair and deceptive trade practices

statutes of various states and territories.2               (Id. ¶¶ 293-765.)

Plaintiffs      seek   class     certification,       declaratory        relief,

injunctive relief, damages, and attorneys’ fees and costs.                   (Id.

at 185-86.)     Defendants now move to dismiss the complaint pursuant

to Federal Rule of Civil Procedure 12(b)(6).                (Doc. 94.)        The

motion has been fully briefed and is ready for resolution.

II.    ANALYSIS

       A.    Standard of Review

       Federal Rule of Civil Procedure 8(a)(2) provides that a

pleading must contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.”              Fed. R. Civ. P.

(8)(a)(2).     A Rule 12(b)(6) motion to dismiss is meant to “test[]


2 These are Arizona, Arkansas, California, Colorado, Connecticut, the
District of Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine,
Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Montana,
Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina,
North Dakota, Oregon, Pennsylvania, Puerto Rico, Rhode Island, South
Carolina, South Dakota, Tennessee, Utah, Vermont, Virginia, West
Virginia, and Wisconsin.

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the sufficiency of a complaint” and not to “resolve contests

surrounding the facts, the merits of a claim, or the applicability

of defenses.”       Republican Party of N.C. v. Martin, 980 F.2d 943,

952 (4th Cir. 1992).        To survive such a motion, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’”                     Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting                Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)).

     In considering a Rule 12(b)(6) motion, a court “must accept

as true all of the factual allegations contained in the complaint,”

Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam), and all

reasonable inferences must be drawn in the non-moving party’s

favor, Ibarra v. United States, 120 F.3d 472, 474 (4th Cir. 1997).

However, the court “need not accept as true unwarranted inferences,

unreasonable conclusions, or arguments.”             Giarratano v. Johnson,

521 F.3d 298, 302 (4th Cir. 2008)                (citation omitted).          Rule

12(b)(6)   protects     against     meritless     litigation       by    requiring

sufficient factual allegations “to raise a right to relief above

the speculative level” so as to “nudge[] . . . the[] claims across

the line from conceivable to plausible.”               Twombly, 550 U.S. at

555, 570; see Iqbal, 556 U.S. at 678.        Thus, mere legal conclusions

should not be accepted as true, and “[t]hreadbare recitals of the

elements   of   a   cause   of   action, supported       by   mere      conclusory

statements, do not suffice.”         Iqbal, 556 U.S. at 678.

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       B.   Motion to Dismiss

       Defendants     contend    that      the    federal     claims        should    be

dismissed    because     Plaintiffs,        in    their    view,      are    “indirect

purchasers” of their CPPs or, in the alternative, because they

have    failed   to    plead    proximate        cause.      (Doc.     95     at     16.)

Additionally, Defendants argue that the state law claims should be

dismissed for failure to plead proximate cause, and for an array

of state-specific grounds.           (Id. at 17.)     The court turns first to

the    federal   claims,       and    specifically        whether     the     indirect

purchaser rule bars Plaintiffs’ federal claims for damages.

            1.   Federal Antitrust Claims

                 a.      Indirect Purchaser Rule

       Section 1 of the Sherman Act prohibits “[e]very contract,

combination in the form of trust or otherwise, or conspiracy, in

restraint of trade or commerce among the several States, or with

foreign nations.”       15 U.S.C. § 1.           Section 2 of the Sherman Act

prohibits    “monopoliz[ing],         or   attempt[ing]      to     monopolize,       or

combin[ing] or conspir[ing] with any other person or persons, to

monopolize any part of the trade or commerce among the several

States, or with foreign nations.”                Id. § 2.      Section 3 of the

Clayton Act makes it unlawful for

       any person engaged in commerce . . . to lease or make a
       sale or contract for sale of goods . . . for use,
       consumption, or resale within the United States . . . or
       fix a price charged therefor, or discount from, or rebate
       upon, such price, on the condition, agreement, or

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     understanding that the lessee or purchaser thereof shall
     not use or deal in the goods . . . of a competitor or
     competitors of the lessor or seller, where the effect of
     such lease, sale, or contract for sale or such condition,
     agreement, or understanding may be to substantially
     lessen competition or tend to create a monopoly in any
     line of commerce.

Id. § 14.     Section 4 of the Clayton Act creates a private right of

action for “any person . . . injured in his business or property

by reason of anything forbidden in the antitrust laws.”                      Id.

§ 15(a).

     In interpreting section 4 of the Clayton Act, the Supreme

Court   has    held   that    “the   immediate   buyers   from    the   alleged

antitrust violators” may maintain a suit against the antitrust

violator for damages.         Kansas v. UtiliCorp United, Inc., 497 U.S.

199, 207 (1990).        However, “indirect purchasers who are two or

more steps removed from the violator in a distribution chain may

not sue.”     Apple Inc. v. Pepper, 587 U.S. 273, 279 (2019) (emphasis

in original).     Put another way,

     if manufacturer A sells to retailer B, and retailer B
     sells to consumer C, then C may not sue A. But B may
     sue A if A is an antitrust violator. And C may sue B if
     B is an antitrust violator.

Id. at 280.

     This rule is derived from Illinois Brick Co. v. Illinois, 431

U.S. 720 (1977).        There, the defendants manufactured and sold

concrete blocks to masonry contractors, who used those blocks in

masonry structures.          Id. at 726.    The masonry contractors sold


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those    structures       to   general      contractors         who    incorporated       the

structures into larger building projects; the general contractors

then    sold     those    constructions           to    customers,           including    the

plaintiffs. Id. at 726. The plaintiffs contended the manufactures

at the start of the chain had used their monopoly power to inflate

the concrete blocks’ cost, and the intermediate actors in the

distribution chain had passed on the price overcharge.                                 Id. at

726-27.      They argued that this arrangement amounted to combination

and    conspiracy    to    fix      the    prices      of   the    concrete      blocks    in

violation of section 1 of the Sherman Act, authorizing treble

damages under section 4 of the Clayton Act.                        The Court held that

the plaintiffs could not pursue damages against the defendant

manufacturers (1) because the defendant would face a “serious risk

of multiple liability” from others in the distribution chain

seeking the same passed-through overcharge; and (2) because of the

burdens       attendant        to    the        “evidentiary          complexities        and

uncertainties” in determining the amount of overcharge passed on

to an indirect purchaser.                 Id. at 730-33.           The Court, however,

recognized two potential exceptions to this rule: (1) where a pre-

existing cost-plus contract exists, and (2) where the direct

purchaser is controlled or owned by its customer.                            Id. at 735-36

& n.16.

       The     parties     disagree        on     whether       Illinois       Brick     bars

Plaintiffs’      damages       claims      against      Defendants.            The   parties

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disagree on the scope of the Illinois Brick rule, particularly

regarding what it means to be an indirect purchaser, and on the

viability of any potential exceptions to that rule.                 (See Doc. 95

at 23-32; Doc. 110 at 20-27; Doc. 156 at 7-8, 24.)                   Because the

parties disagree so severely on the governing law, the court now

sets out the most relevant precedents.

       In 1990, the Supreme Court considered the case of natural gas

suppliers that allegedly violated antitrust laws and overcharged

public utilities, which in turn passed on the overcharge to their

customers.      Kansas v. UtiliCorp United, Inc., 497 U.S. 199, 204

(1990).    Both the utilities and the states of Kansas and Missouri,

acting as parens patriae, sued the suppliers.               Id.      The Supreme

Court held that only the public utility had a cause of action

against the suppliers under the Illinois Brick rule.                     Id.   The

consumers represented by the states were indirect purchasers under

that    rule,    because    they     had     purchased     gas    from     public

utilities — intermediaries — rather            than      directly     from     the

suppliers that had allegedly conspired to fix the price.                   Id. at

207.

       The states offered three reasons why Illinois Brick should

not bar their claims, two of which are relevant here.                     See id.

First, they asserted that none of the policy rationales underlying

Illinois     Brick    applied   to   cases    involving     regulated      public

utilities.      Id.   Second, they argued that the cost-plus exception

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contemplated by Illinois Brick should apply to permit their claim.

Id. at 207-08.       The Supreme Court rejected both arguments.          Id. at

208.

       The   Court   explained   the   first    argument   was    unpersuasive

because it was doubtful the Illinois Brick rationales — easing

apportionment of overcharges, eliminating double recoveries, and

promoting enforcement of the antitrust laws — would be better

served by applying an exception for regulated public utilities.

Id. at 208-16.         But it then instructed that although “[t]he

rationales underlying . . . Illinois Brick will not apply with

equal force in all cases,” courts should view exceptions with

disfavor because “[t]he possibility of allowing an exception, even

in rather meritorious circumstances, would undermine the rule.”

Id. at 216.     The Court concluded: “In sum, even assuming that any

economic assumptions underlying the Illinois Brick rule might be

disproved in a specific case, we think it an unwarranted and

counterproductive exercise to litigate a series of exceptions.”

Id. at 217.

       The states’ second argument, that an exception for sales under

a cost-plus contract should apply, failed because the states had

not alleged such a conspiracy.         Id. at 217-18.      The Supreme Court

explained the implications of selling pursuant to a cost-plus

contract, focusing on the intermediary’s ability to sell at a fixed

quantity:

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       In [a cost-plus contract] situation, the [direct]
       purchaser is insulated from any decrease in its sales as
       a result of attempting to pass on the overcharge, because
       its customer is committed to buying a fixed quantity
       regardless of price. The effect of the overcharge is
       essentially determined in advance, without reference to
       the interaction of supply and demand that complicates
       the determination in the general case.
Id. at 217 (alterations in original) (quoting Illinois Brick, 431

U.S. at 736). The regulations and tariffs applied to the utilities

did not amount to a cost-plus contract, nor did they approximate

one.      Id. at 217-18.         Without endorsing an exception to the

Illinois Brick rule for “situations that merely resemble those

governed by such a [cost-plus] contract,” the Court noted any such

exception would not apply to the case before it.3                   Id. at 218.      The

result was that Illinois Brick applied to bar the states’ claims

against the suppliers.          Id. at 219.

       The Fourth Circuit applied Illinois Brick in 2002 while

considering     antitrust       claims    against      Microsoft.          Dickson    v.

Microsoft     Corp.,    309   F.3d   193       (4th   Cir.   2002).        There,    the

plaintiffs     had     purchased     computers        that   came       equipped    with

Microsoft’s operating system from original equipment manufacturers

(“OEMs”).      Id. at 198-99.            The plaintiffs alleged a vertical

conspiracy     to    restrain    trade     —    specifically,       that     Microsoft

offered the OEMs discounts and development cooperation in exchange



3 Notably, the Court stopped short of fully endorsing the cost-plus
exception, referring instead to “the possibility of an exception for
cost-plus contracts.” Id. at 218 (emphasis added).

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for (1) long-term exclusionary licensing agreements, (2) the OEMs’

agreement to limit the removal of Microsoft’s icons from computers,

and (3) the OEMs’ integration of Internet Explorer software into

the operating system.          Id. at 199.   While the Fourth Circuit held

that    the    plaintiffs       had    adequately     alleged        two    vertical

conspiracies, the court concluded that the conspiracies did not

impose unreasonable restraints of trade, and thus affirmed the

district court’s dismissal of the federal antitrust claims.                      Id.

at 205-213 (discussing failure to allege market power of co-

conspirators).

       The court also held in the alternative that the plaintiffs

were indirect purchasers barred from recovering damages under

Illinois Brick.        Id. at 213-16 (analyzing Illinois Brick under the

hypothetical     that     it   found   the   plaintiff’s      claims       otherwise

sufficiently alleged).         In the course of concluding that Illinois

Brick applied, the court determined that exceptions to the rule

did not apply.         Id. at 214-16.        It started by noting the two

exceptions contemplated by Illinois Brick itself: the situation of

selling under a cost-plus contract, and “where the direct purchaser

is owned or controlled by its customer.”               Id. at 214 (citing and

quoting Illinois Brick, 431 U.S. at 736 & n.16).                     It also noted

the Supreme Court’s admonition in UtiliCorp against creating new

exceptions to Illinois Brick.           Id. (citing 497 U.S. at 216).

       The    Fourth   Circuit    observed    that    other     circuit      courts,

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“[d]espite” the Supreme Court’s guidance, had recognized a “co-

conspirator exception.”          Id. at 214-15 (citing In re Brand Name

Prescription Drugs, 123 F.3d 599, 604–05 (7th Cir. 1997); Paper

Sys. Inc. v. Nippon Paper Indus., 281 F.3d 629, 631–32 (7th Cir.

2002); Campos v. Ticketmaster Corp., 140 F.3d 1166, 1171 (8th Cir.

1998); Arizona v. Shamrock Foods Co., 729 F.2d 1208, 1211 (9th

Cir. 1984); and Lowell v. American Cyanamid Co., 177 F.3d 1228,

1231 (11th Cir. 1999)).         Rather than accept that these cases stood

for the proposition that Illinois Brick could be avoided by any

allegation      of   a   conspiracy,          however,   the    Fourth        Circuit

“interpret[ed]       [those]     cases   as     standing     for     the     narrower

proposition that Illinois Brick is inapplicable to a particular

type of conspiracy — price-fixing conspiracies.”                   Id. at 215.     In

doing so, the court expressly declined to decide whether it would

similarly      recognize    a     price-fixing       exception        because     the

plaintiffs failed to allege such a conspiracy.                  Id.        The Fourth

Circuit did opine, in dicta, on what a proper co-conspirator

exception would look like: one “grounded on the damages theory

underlying the alleged conspiracy” such that “no overcharge has

been passed on to the consumer.”              Id. at 215.4


4 This explanation is dicta, not because it was part of an alternative
holding, United States v. Fulks, 454 F.3d 410, 434-35 (4th Cir. 2006)
(citing MacDonald, Sommmer & Frates v. Yolo Cnty., 477 U.S. 340, 346 n.4
(1986), for the proposition that “alternative holdings are not dicta”);
Michael Abramowicz & Maxwell Stearns, Defining Dicta, 57 Stan. L. Rev.
953, 959 n.15 (2005) (“[I]t cannot be the case that an opinion that


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     In 2006, the Fourth Circuit considered another antitrust

action against Microsoft.         Kloth v. Microsoft Corp., 444 F.3d 312

(4th Cir. 2006).        There, the plaintiffs had purchased from OEMs

computers that came with pre-installed Microsoft software.                Id. at

317-18.   The OEMs purchased from Microsoft licenses to install and

use the software and then in turn offered end-users, including the

plaintiffs, an end-user license agreement to use the pre-installed

software.    Id.     Microsoft allegedly dictated the terms of the end-

user license agreements, which gave Microsoft remedies against

end-users who breached them.         Id. at 318.     The plaintiffs alleged

this structure resulted in various anticompetitive harms under the

Clayton Act and Sherman Act.         Id.

     The Fourth Circuit concluded the plaintiffs’ claims against

Microsoft were barred under Illinois Brick.            Id. at 323.    The court

explained    that    “[t]o   be   governed   by   the Illinois      Brick rule,

plaintiffs have to be (1) indirect purchasers (2) seeking recovery

for illegal overcharges.”         Id. at 320.     Both prongs applied to the

plaintiffs.    First, the fact that the end user license agreements

granted     rights    and    obligations     between    Microsoft      and    the



strikes down a law on two grounds rather than one expresses no holding”),
but because the explanation of what a proper Illinois Brick exception
would look like was unnecessary to the outcome of Dickson as no price-
fixing conspiracy was alleged. See Payne v. Taslimi, 998 F.3d 648, 654-
55 (4th Cir. 2021) (defining dictum as a “statement in a judicial opinion
that could have been deleted without seriously impairing the analytical
foundations of the holding”) (citation omitted).


                                      19



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plaintiffs did not make the plaintiffs direct purchasers; instead,

the    fact that   the   plaintiffs       bought    those    licenses        from     the

intermediary     OEMs    controlled       the    analysis    and     rendered         the

plaintiffs indirect purchasers against Microsoft.                    Id. at 320-21.

As to the second prong, the plaintiffs sought recovery for an

illegal    overcharge     because     they      “st[ood]    at     the     end   of      a

distribution chain in which the intermediaries have independently

set prices and passed on alleged overcharges”; the intermediary

OEMs, the court observed, could assert the same theories of harm.

Id. at 322-23.     The Fourth Circuit concluded by observing that the

case    “fits   easily   within     the    Illinois    Brick     paradigm.            The

plaintiffs are end-users who purchased Microsoft licenses from

OEMs and retailers at prices fixed by the OEMs and retailers. Id.

at 323.    In these circumstances, the indirect purchaser doctrine

of Illinois Brick applies to bar their claims.”                  Id. at 323.

       The Supreme Court most recently considered Illinois Brick in

Apple Inc. v. Pepper, 587 U.S. 273 (2019).                 Apple had created the

App Store as the only place for iPhone owners to lawfully buy

applications (“apps”) for their phones.               Id. at 276.         Independent

developers created most of the apps, and those developers then

“contract[ed] with Apple to make the apps available to iPhone

owners in the App Store.”           Id. at 277.        Apple, through the App

Store, in turn sold apps directly to iPhone users.                        Id.    Apple

required the sales prices to end in $0.99, but otherwise permitted

                                          20



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the developers to set the price.        Id.    Apple kept 30% of the sale

price. Id. iPhone owners sued Apple, alleging it had “monopolized

the iPhone apps aftermarket.”      Id. (internal quotation marks and

citation omitted).   In their view, they paid more for applications

under the App Store’s structure than they would in a competitive

market.   Id.     Apple   argued   the   iPhone     owners       were   indirect

purchasers under Illinois Brick and thus their claims under the

Clayton and Sherman Acts were barred from suit.              Id. at 277; see

id. at 279.

     The Supreme Court concluded that the iPhone owners were direct

purchasers and thus not subject to Illinois Brick.                 Id. at 288.

There was no intermediary between the iPhone owners and the alleged

violator, Apple; instead, the iPhone owners purchased their apps

directly from Apple as retailer.        Id. at 281.      The Court referred

to Illinois Brick as “a bright-line rule where direct purchasers

such as the consumers here may sue antitrust violators from whom

they purchased a good or service.”       Id.    That rule was represented

by the formula this court previously mentioned:

     if manufacturer A sells to retailer B, and retailer B
     sells to consumer C, then C may not sue A. But B may
     sue A if A is an antitrust violator. And C may sue B if
     B is an antitrust violator.

Id. at 280.   While 30 states and the District of Columbia called

on the Court to overrule Illinois Brick and allow C to sue A in

that hypothetical, the Court declined to do so because the iPhone


                                   21



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owners were direct purchasers under established precedent.              Id. at

280 n.2.     The Court also rejected Apple’s argument that Illinois

Brick permitted suits by consumers against the party that set the

retail price rather than the party that sold the product to the

consumer.    Id. at 281-85.   Four Justices dissented on the grounds

that the Court had “recast[]” Illinois Brick as a “formalistic

rule    of   contractual   privity.”    Id.     at   289       (Gorsuch,    J.,

dissenting).    The Fourth Circuit, in dicta, recently cited Pepper

for the proposition that “‘immediate buyers from the alleged

antitrust violators’ can be construed as direct purchasers under

the Clayton Act.”     In re Zetia (Ezetimibe) Antitrust Litigation,

7 F.4th 227, 238 n.8 (4th Cir. 2021) (quoting Pepper, 587 U.S. at

280).

        With these precedents in mind, the court returns to the case

at hand.

                 b.   Plaintiffs’ Claims

       In their response in opposition to Defendants’ motion to

dismiss, Plaintiffs argue that Illinois Brick does not bar their

damages claims because they are direct purchasers from antitrust

violators.     (Doc. 110 at 21.)   Plaintiffs seize on the statement

from Pepper, quoted by In re Zetia, that “immediate buyers from

the alleged antitrust violators may maintain [a] suit against the

antitrust violators.” (Id.) They contend that this language means

a consumer may maintain an antitrust suit against the manufacturer

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so long as the intermediate distributor is also part of the same

antitrust violation.       (See id. at 21-24.)        In other words, those

injured by antitrust violations may sue everyone involved in the

antitrust violation, regardless of the defendants’ position in the

distribution    scheme.        Here,       Plaintiffs       allege     that      the

intermediary    distributors    are    part    of    and    benefit     from      the

antitrust    conspiracy,     Plaintiffs      have    been    injured       by     the

resulting supracompetitive prices, and Plaintiffs now may sue the

antitrust-violating manufacturers at the top of the chain.                      (Doc.

78 ¶ 273-74; Doc. 110 at 21-24.)              Plaintiffs also argue that

Dickson does not control the outcome of this case because that

decision left open the possibility of a conspiracy workaround to

Illinois Brick, contingent on an appropriate damages theory. (Doc.

110 at 26.)     As they put it, “nothing in the decision suggests

that [a vertical price-fixing conspiracy] is the only context in

which standing could be found despite the presence of a multi-step

distribution chain.”      Id. (emphasis in original).

     Defendants argue, correctly, that Plaintiffs are not direct

purchasers under controlling law. As an initial matter, Plaintiffs

overread    Pepper’s   statement    that     “immediate      buyers     from      the

alleged    antitrust   violators    may    maintain     a   suit     against      the

antitrust   violators.”       587   U.S. at    280    (quotation       marks      and

citation omitted).      That statement must be read in context.                    At

issue in Pepper was whether consumers could maintain suit for

                                      23



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supracompetitive prices against an alleged monopolistic retailer

(Apple) even though the retailer did not set prices.                See id. at

281   (describing   Apple’s   “who-sets-the-price”          argument).       The

Supreme Court answered in the affirmative because the consumers

had made their purchases directly from Apple.             See id. at 280-81,

288. It did not consider whether the consumers would have standing

against the further-removed app developers had they also engaged

in anticompetitive conduct, which would be more analogous to the

situation   here.    See   generally   Pepper,      587    U.S.    273.      And

Plaintiffs’ understanding of Pepper is contradicted by Pepper’s

own description of Illinois Brick: “a bright-line rule where direct

purchasers such as the consumers here may sue antitrust violators

from whom they purchased a good or service.”          Pepper, 587 U.S. at

281 (emphasis added).

      This case instead satisfies the Illinois Brick test laid out

in Kloth and is most factually similar to Dickson.

      First, the Kloth test is satisfied.            “To be governed by

the Illinois   Brick rule,    plaintiffs     have   to     be    (1)   indirect

purchasers (2) seeking recovery for illegal overcharges.”                 Kloth,

444 F.3d at 320.    Here, Plaintiffs are indirect purchasers: they

acknowledge    having      purchased    CPPs        from        intermediaries

(distributors or retailers) rather than from these manufacturing

Defendants at the top of the distribution chain.            (Doc. 110 at 20)

(stating that Plaintiffs purchased CPPs “from a distributor or

                                  24



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retailer that entered into a loyalty program agreement” with

Defendants); (Doc. 78 at ¶ 6) (referring to the distributors and

retailers as “middlemen between Defendants and farmers”);                         Cf.

Kloth, 444 F.3d at 320 (“In this case, it is apparent that the

plaintiffs were indirect purchasers because they did not buy

products     directly     from   Microsoft”);     Pepper,    587     U.S.   at    281

(explaining that the plaintiffs were direct purchasers because

“[t]here is no intermediary in the distribution chain between Apple

and the consumer”).        Plaintiffs also seek to recover for illegal

overcharges, or supracompetitive prices charged by the alleged

monopolist.     See Kloth, 444 F.3d at 323.         The complaint is replete

with    references   to    “overcharges,”    and    Plaintiffs        allege     that

Defendants        charge         the     co-conspirator             intermediaries

supracompetitive prices before their CPPs reach Plaintiffs.                    (Doc.

78 ¶¶ 15, 251-52, 264, 268; see id. at ¶¶ 71-72, 201 (describing

the distribution scheme and resulting supracompetitive prices).) 5

       Second, this case is factually most like Dickson.                There, the

plaintiffs alleged a vertical conspiracy where the intermediary

computer manufacturers both aided and benefited from Microsoft’s


5 That Plaintiffs also allege the antitrust violations have excluded
generics and caused a lack of product innovation does not alter the
court’s analysis. (See Doc. 78 ¶¶ 213-34, 235-38) (alleging Defendants’
conduct caused “market foreclosure” to generics and a “lack of
innovation”.)   The Fourth Circuit has explained that both harms —
suppressing alternative manufacturers and stifling superior products —
“are essentially claims for illegal overcharges passed on to consumers.”
Kloth, 444 F.3d at 322-23.


                                       25



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alleged anticompetitive conduct.           Dickson, 309 F.3d 198-200.         That

the intermediary coconspirators benefited from Microsoft’s alleged

anticompetitive conduct did not suffice to avoid Illinois Brick.

See id. at 215-16.       Here, Plaintiffs similarly allege a conspiracy

between the manufacturers at the top of the chain, against whom

they hope to maintain suit, and with intermediary distributors.

Dickson     indicates,     however,   that        this   vertical     conspiracy

allegation is insufficient to escape Illinois Brick.6

       Plaintiffs suggest Dickson does not control this case because

Dickson opened the possibility to a conspiracy claim predicated

upon the appropriate damages theory.               (Doc. 110 at 26.)          This

argument fails both factually and legally.               First, as a factual

matter, Plaintiffs do not appear to have alleged an appropriate

theory of damages akin to what the Dickson court contemplated.

There, the Fourth Circuit noted in dicta that in a price-fixing

conspiracy, “the consumer is the only party who has paid any

overcharge.”       Dickson, 309 F.3d at 215 (citation omitted).              Here,

the    complaint    does   not   permit     the    determination      that    only



6 Plaintiffs intimate, in a footnote, that Pepper has abrogated Dickson.
(Doc. 110 at 26 n.9.) Supreme Court precedent does not abrogate prior
Fourth Circuit precedent unless it is clearly contrary to the earlier
Fourth Circuit precedent. See Short v. Hartman, 87 F.4th 593, 605 (4th
Cir. 2023).    In trying to get there, Plaintiffs overread Pepper’s
statement that “immediate buyers from the alleged antitrust violators
may maintain a suit against the antitrust violators.” 587 U.S. at 280;
see supra.   Plaintiffs are unable to show Pepper is in tension with
Dickson, let alone clearly contrary such that the two decisions are
“impossible to reconcile.” Short, 87 F.4th at 605 (citation omitted).

                                      26



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Plaintiffs as end-users of the CPPs have paid any overcharge. (See

Doc. 78 ¶¶ 1-13, 69-252.)           It is not alleged, for example, that

the    rebates     paid    to    the   intermediaries           fully    offset     the

supracompetitive prices they pay to Defendants for the CPPs.                        Nor

is it clear that the intermediaries do not use any portion of the

rebates to lower their own prices for end users or farmers.

Instead,     the   difficulties        of        apportionment     contemplated      by

Illinois Brick are present here.                  In an unrelated case, another

court came to the same conclusion:

       In any event, determining whether the overcharges were
       entirely  absorbed   by   consumers would    require a
       complicated economic analysis of which parties incurred
       the overcharges and whether the payments [to the
       intermediaries] accounted for these overcharges. The
       court in Dickson observed that this is “the exact
       analysis that Illinois Brick forbids” for purposes of
       the antitrust standing analysis.

In re Zetia (Ezetimibe) Antitrust Litigation, No. 2:18-md-2836,

2019 WL 6977405, at *6 (E.D. Va. Dec. 20, 2019) (citation omitted).

       Second, the argument fails as a legal matter because Dickson

did    not   actually     open   the   door        to   the   possibility     of   new,

permissible conspiracy claims.                   Dickson speculated on, without

deciding, what an appropriate damages theory might look like — one

where no overcharge is passed on to the consumer.                        309 F.3d at

215.

       Whatever the policy wisdom of a general conspiracy exception

to Illinois Brick, it is not for this court to create one.                      “While


                                            27



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district courts are often said to be the ‘front line experimenters

in the laboratories of difficult legal questions,’ they are bound

to follow circuit precedent” and controlling law.                              Carcaño v.

McCrory,    203    F.    Supp.       3d    615,    637    (M.D.N.C.    2016)       (citation

omitted).     That controlling law includes, first, the Supreme

Court’s most recent enunciation of Illinois Brick as “a bright-

line rule where direct purchasers such as the consumers here may

sue    antitrust       violators      from     whom      they     purchased    a    good   or

service.”     Pepper, 587 U.S. at 281.                       Second, Illinois Brick

recognized only two potential exceptions to the indirect purchaser

rule: where sales are made under a cost-plus agreement and where

the direct purchaser is controlled or owned by its customer.                               431

U.S.   at   736    &    n.16.        Third,       the    Fourth    Circuit    has    yet   to

affirmatively embrace any additional exception to Illinois Brick

or to enlarge any existing exception.                       See Dickson, 309 F.3d at

214-15; Kloth, 444 F.3d at 321-22; In re Zetia, 7 F.4th at 238 &

n.8; accord In re Zetia, 2019 WL 6977405, at *6 (explaining that

“the Fourth Circuit has never approved a price-fixing exception to

the direct purchaser rule, much less an exception that extends to

all instances of passed-on overcharges”).                          Fourth, the Supreme

Court has admonished lower courts against creating new exceptions

to Illinois Brick for fear of undermining the general rule.                                See

UtiliCorp,    497       U.S.    at    216-17.            Therefore,    Plaintiffs,         who

purchased CPPs from distributors and retailers rather than these

                                              28



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Defendants, are indirect purchasers under Illinois Brick without

an applicable exception.

       At the August 29 hearing, Plaintiffs offered a new argument

for avoiding Illinois Brick: that they had, in fact, alleged a

price-fixing conspiracy.         (Doc. 115 at 24.)     Plaintiffs contended

that   Illinois   Brick    and    Dickson   do   not   bar    a   price-fixing

conspiracy,   regardless    of     whether conspiracy        allegations   more

broadly suffice to defeat the Illinois Brick rule.                (Id. at 30.)

Defendants responded that Plaintiffs failed to sufficiently allege

a price-fixing conspiracy in the complaint.            (Id. at 45-46.)

       Plaintiffs’ attempt to raise this new argument for the first

time at oral argument, after extensive briefing by the parties in

a case of this nature and after the Plaintiffs went to the trouble

of preparing a consolidated complaint, “undermines the purpose of

orderly briefing and risks subjecting an opponent to an unfair

disadvantage.”    N.C. Alliance for Transp. Reform, Inc. v. U.S.

Dep’t of Transp., 713 F. Supp. 2d 491, 510 (M.D.N.C. 2010).                  The

court considers such an argument as waived.                United States v.

Bowles, 602 F.3d 581, 583 n.* (4th Cir. 2010) (“In his supplemental

brief and at oral argument, Bowles argued for the first time that

his guilty plea was not voluntary or competent.                   We find this

argument is waived.”).

       However, it also fails on the merits.         To survive a motion to

dismiss under Rule 12(b)(6), there must be sufficient factual

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allegations “to raise a right to relief above the speculative

level”    so   as   to   “nudge[]    the[]   claims     across     the   line      from

conceivable to plausible.”            Twombly, 550 U.S. at 555, 570; see

Iqbal, 556 U.S. at 678.         “Threadbare recitals of the elements of

a cause of action, supported by mere conclusory statements, do not

suffice.”      Iqbal, 556 U.S. at 678.             Any suggestion of a price-

fixing    conspiracy     in   the    complaint     falls    well      short   of    the

Twombly/Iqbal standard.

     The Supreme Court has explained that the essence of price

fixing is the agreement to sell at certain price levels or within

certain price ranges:

     [P]rices are fixed . . . if the range within which
     purchases or sales will be made is agreed upon, if the
     prices paid or charged are to be at a certain level or
     on ascending or descending scales, if they are to be
     uniform, or if by various formulae they are related to
     the market prices. They are fixed because they are agreed
     upon.

United States v. Socony-Vacuum Oil Co., 310 U.S. 150, 222–23

(1940).    At oral argument, when pressed by the court, Plaintiffs’

counsel cited paragraphs 273, 274, and 275 of the complaint in

support of the contention that the complaint contains a price-

fixing    allegation, equating         “price    stabilization”        with   “price

fixing.”       (Doc. 156 at 24.)        The complaint contains only four

paragraphs that have any reference to fixing price in violation of

federal law. (Doc. 78 ¶¶ 273-76.) Paragraph 274 is representative

of the complaint’s sparse treatment of price-fixing allegations:

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       In formulating and carrying out the alleged agreement,
       understanding, and conspiracy Defendants, distributors,
       and authorized retailers did those things that they
       combined and conspired to do, including but not limited
       to the acts, practices, and course of conduct set forth
       above, and the following, among others: engaged in a
       combination or conspiracy in restraint of trade to
       artificially raise, fix, maintain, and/or stabilize
       prices for crop protection products containing the
       Relevant AIs principally but not exclusively, by
       designing and enforcing loyalty programs that prevented
       and continue to prevent competing generic manufacturers
       from entering the market and/or efficiently distributing
       their products.

(Id. ¶ 274) (emphases added.)        Paragraph 273 alleges “Defendants

entered into a continuing agreement . . . with distributors and

authorized retailers . . . to artificially raise, fix, maintain,

and/or stabilize prices.”       (Id. ¶ 273.)      Paragraph 275 uses the

same    language   but    alleges   that   Defendants     entered     into      a

“continuing agreement” with “each other.”        (Id. ¶ 275.)       Paragraph

276 (not cited by Plaintiffs) contains a similar reference to a

“conspiracy . . . to artificially raise, fix, maintain, and/or

stabilize prices,” this time through the mechanism of “entering

into a market allocation agreement.”          (Id. ¶ 276.)      These are no

more than boilerplate references to the statutory requirements of

the Sherman Act.         The complaint does not provide any factual

allegation to plausibly explain how Defendants conspired to fix

prices.   (See id. ¶¶ 69-252.)      Rather, the complaint’s description

of harms accurately captures Plaintiffs’ theory of the case:

“Through the use of their exclusionary loyalty programs and the


                                     31



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anticompetitive agreement between themselves, Syngenta and Corteva

substantially foreclosed generic manufacturers from the Relevant

Markets, stifled innovation, and imposed supracompetitive prices

on farmers.”      (Id. ¶ 208.)         At the hearing, Plaintiffs’ counsel

acknowledged      as    much,   explaining     that     “there’s       not    a   fixed,

specific price you must sell at, you know, cost plus 20 percent,

or something like this. . . .           there is an incentive to raise the

price.”   (Doc. 156 at 25.)

     The sale of products at supracompetitive prices, alleged

throughout the complaint and described at the hearing, is not

necessarily price fixing.          Dickson makes this clear.                 There, the

Fourth Circuit acknowledged the plaintiffs’ allegation that the

conspiracy     between       Microsoft        and   the      OEMs      resulted      in

supracompetitive prices for end-users, id. at 200, but ultimately

concluded the plaintiffs had failed to sufficiently allege a price-

fixing conspiracy, id. at 215.            Here, the complaint alleges that

Defendants’ loyalty programs foreclosed generics from the market

and caused Plaintiffs to pay higher prices for CPPs than they would

in a competitive market.         (See Doc. 78 ¶¶ 239-52.)              But there are

no allegations that distributors or retailers had to maintain any

price.       As        in   Dickson,    the     complaint’s         references        to

“supracompetitive prices” do not amount to an agreement to set




                                         32



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prices.7     See Socony-Vacuum, 310 U.S. at 222-23 (describing the

agreement to set prices at specific levels or within ranges as the

essence of price-fixing).           The complaint’s passing references to

price-fixing are insufficient under Twombly and Iqbal.8

       Plaintiffs are indirect purchasers as to these Defendants.

The     Fourth   Circuit    has     neither     affirmatively       adopted    new

exceptions to Illinois Brick nor enlarged existing exceptions to

cover Plaintiffs’ claims.           And the complaint does not plausibly

allege price fixing.         Illinois Brick therefore bars Plaintiffs

from seeking damages for antitrust violations under federal law.

                   c.   Antitrust Standing & Proximate Causation

       Defendants   next    argue    that     Plaintiffs’   federal    antitrust

claims for both damages and injunctive relief should be dismissed

for failure to adequately “satisfy the bedrock requirement of

proximate     causation.”        (Doc.   95   at   32.)     Because   the     court

concludes Illinois Brick bars Plaintiffs’ federal damages claims,

the court considers Defendants’ proximate causation argument as it


7Plaintiffs’ reliance on Lowell is misplaced. There, plaintiffs alleged
the rebate was contingent on the dealer selling American Cyanamid’s
product “at or above” the suggested resale price such that “the programs
allegedly established a minimum resale price.” 177 F.3d at 1228. Here,
at best, Defendants’ programs allegedly incentivize charging higher
prices.

8 Because the court concludes Plaintiffs failed to allege a price-fixing
conspiracy, it need not decide whether a price-fixing conspiracy is a
cognizable exception to the Illinois Brick indirect purchaser rule. But
see In re Zetia, 2019 WL 6977405, at *6 (“As a legal matter, the Fourth
Circuit has never approved a price-fixing exception to the direct
purchaser rule.”).

                                         33



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relates to Plaintiffs’ request for injunctive relief and relief

under state law.          Defendants contend that Plaintiffs’ alleged

injuries are “too remote from the alleged restraint of trade at

the wholesale level” for three reasons: (1) Plaintiffs are indirect

purchasers; (2) Plaintiffs are not “participants” in the wholesale

market   for    CPPs,    where   the   allegedly     anticompetitive          conduct

reduced sales of generics; and (3) the complaint does not allege

that Defendants limit the ability of generic manufacturers to reach

Plaintiffs directly, such as through e-commerce.                     (Id. at 33-35)

(emphases and boldface removed.)             Plaintiffs argue in response

that this proximate cause argument is essentially a “rehash” of

Defendants’ Illinois Brick argument.           (Doc. 110 at 27.)          They also

assert that participation in the wholesale market is not required,

and   that     while    generics    could   reach     farmers        directly,     the

traditional     and     most   efficient    channel      through      which    eighty

percent of CPP sales run, as alleged in the complaint, is through

seven distributors.        (Id. at 16-17, 22, 28-31.)

      Federal courts “generally presume that a statutory cause of

action is limited to plaintiffs whose injuries are proximately

caused by violations of the statute.”              Lexmark, 572 U.S. at 132.

Where proximate cause is not plausibly alleged, the action may be

barred on “statutory standing” grounds.                  Id. at 128 n.4.           The

Supreme Court has itself acknowledged a distinction between the

Illinois     Brick     direct-purchaser     rule   and    the   proximate        cause

                                       34



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requirement: “[T]he question of which persons have been injured by

an illegal overcharge . . . is analytically distinct from the

question of which persons have sustained injuries too remote to

give them standing to sue for damages under [the Clayton Act].”

Illinois Brick, 431 U.S. at 728 n.7.                  The requirement to allege

antitrust     standing         applies    to     claims     for    both     damages     and

injunctive relief.         Pocahontas Supreme Coal Co. v. Bethlehem Steel

Corp., 828 F.2d 211, 219-20 (4th Cir. 1987).

       In the antitrust context, courts have assessed statutory

standing     under       the    factors     set    out      in    Associated       General

Contractors of California, Inc. v. California State Council of

Carpenters, 459 U.S. 519 (1983) (“AGC”).                    See, e.g., Novell, Inc.

v. Microsoft Corp., 505 F.3d 302, 310-11 (4th Cir. 2007).                             These

factors are:

       (1) the causal connection between an antitrust violation
       and harm to the plaintiffs, and whether that harm was
       intended; (2) whether the harm was of a type that
       Congress sought to redress in providing a private remedy
       for violations of the antitrust laws; (3) the directness
       of the alleged injury; (4) the existence of more direct
       victims of the alleged antitrust injury; and (5)
       problems of identifying damages and apportioning them
       among those directly and indirectly harmed.

Kloth,     444    F.3d    at     324     (internal    quotations           and   citations

omitted).9       Here, because the court has concluded that Plaintiffs’


9 The claim at issue in Lexmark was brought under the Lanham Act, 15
U.S.C. § 1051 et seq. The Court did not adopt a proposed balancing test
derived from AGC to assess proximate causation in the Lanham Act context.
Lexmark Int’l, Inc., 572 U.S. at 134. Circuit courts have nevertheless


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federal damages claims are barred by Illinois Brick, there is a

substantial question of the relevance of the last three factors to

a request for injunctive relief.         See In re Interior Molded Doors

Antitrust Litig., No. 3:18-cv-00718-JAG, c/w No. 3:18-cv-00850-

JAG, 2019 WL 4478734, at *9 (E.D. Va. Sept. 18, 2019).               However,

as noted below, whether or not these factors apply, the result

would not change.

      The first two factors are related, because they “ensure that

the plaintiff claims the proper type of injury to be accorded

antitrust    standing.”   Novell,    505     F.3d   at   315    (emphasis   in

original).    Following guidance from the Fourth Circuit, the court

first considers the second factor: whether Plaintiffs have alleged

an injury the antitrust laws were intended to prevent.                See id.

The key question is whether the alleged conduct destroys the

freedom to compete through anticompetitive practices.             Id. at 315-

16.    Like the Fourth Circuit in Novell, the court concludes


continued to rely on AGC since Lexmark, and Defendants cite to AGC
frequently, including by stating that proximate causation is a
“requirement of Lexmark and AGC.” (Doc. 95 at 35); see Johnson v. Comm’n
on Presidential Debates, 869 F.3d 976, 981-82 (D.C. Cir. 2017) (relying
on AGC); Schwab Short-Term Bond Mkt. Fund v. Lloyds Banking Grp. PLC,
22 F.4th 103, 115-20 (2d Cir. 2021) (applying AGC factors); Host Int’l,
Inc. v. MarketPlace, PHL, LLC, 32 F.4th 242, 249-50 (3d Cir. 2022)
(same). The Fourth Circuit has stated that plaintiffs in the antitrust
context must show “that they were directly — not proximately — injured
by the violation” and cited AGC. Mayor of Baltimore v. Actelion Pharms.
Ltd., 995 F.3d 123, 130 (4th Cir. 2021) (emphasis in original).
Defendants do not note any potential distinction between “directly” and
“proximately” injured.    (See generally Docs. 95, 124.)    Because the
Fourth Circuit in Mayor of Baltimore cited the AGC factors, and the
parties argue under the language of proximate causation, the court will
do the same.

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Plaintiffs have alleged an injury to competition that the antitrust

laws were designed to prevent.          See id. at 316.         According to the

complaint, Defendants have successfully restrained competition by

excluding    competitor     generic   manufacturers        from      entering    the

market through loyalty agreements and rebate programs with the

leading distributors in the market.             (Doc. 78 ¶ 208); Cf. Novell,

505 F.3d at 316 (“Microsoft's activities, Novell claims, were

intended to and did restrain competition in the PC operating-

system market by keeping the barriers to entry into that market

high.”).

     The    court   next    considers     the    first   factor:       the    causal

connection    between       Plaintiffs’     injuries       and       the     alleged

anticompetitive     conduct.       Here,        that   causal       connection    is

straightforward: by excluding generic manufacturers from the CPP

market, Defendants were able charge higher prices for their CPPs

than they could in a competitive market with stronger participation

by generic manufacturers.         Those higher prices were ultimately

reflected in the costs to farmers – including Plaintiffs - who

serve as end users of those products.                    What is missing for

Plaintiffs here is the related consideration of “whether [the]

harm was intended.”        Id. (alteration in original) (quoting Kloth,

444 F.3d at 324).       There is no suggestion in the complaint that

Defendants acted with the specific intent to harm these Plaintiffs

or end-user farmers more generally.         But Plaintiffs do allege that

                                      37



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the rebate program is structured so that rebates are paid in years

subsequent     to   purchases     so   as   to    discourage           allowing    the

distributors to pass the rebates on to the purchasers.                        (Doc. 78

¶ 80.) Because Plaintiffs have alleged conduct designed to destroy

competition and harm flowing from the destruction of competition,

the court concludes factors 1 and 2 favor Plaintiffs’ standing.

       The court next considers factors 3, 4, and 5: “the directness

of the alleged injury; . . . the existence of more direct victims

of the alleged antitrust injury; and . . . problems of identifying

damages and apportioning them among those directly and indirectly

harmed.” Id. at 317 (quoting Kloth, 444 F.3d at 324).                        Factors 3

and 4 are closely related, because they focus on “granting standing

to the most direct victims of defendants’ anticompetitive conduct

and denying standing to more remote victims on the theory that the

direct victims have the greatest motivation to act as ‘private

attorney[s] general’ and ‘to vindicate the public interest in

antitrust enforcement.’ ” Id. at 317-18 (quoting AGC, 459 U.S. at

542) (alteration in original).

       Defendants’ three reasons for why proximate cause is lacking

here    are   not   framed   in    relation      to     specific       AGC    factors.

Nevertheless, each bears relation to the directness of Plaintiffs’

injuries to Defendants’ alleged conduct.                 As to the first — that

Plaintiffs are indirect purchasers — this is a relevant but non-

dispositive consideration.          Illinois Brick’s indirect purchaser

                                       38



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rule is a “bright-line rule”.                Pepper, 587 U.S. at 281.                    The AGC

factors, however, are more flexible.                  Compare id. with Novell, 505

F.3d at 318-19.          Rather than impose a bright-line rule, the Fourth

Circuit     has       considered         practical       business       realities           when

evaluating factors 3 and 4.                 In Novell, for example, the Fourth

Circuit noted that other potential plaintiffs — such as OEMs who

were     prevented       from    installing        the    products          of    Microsoft’s

competitors — had not actually sued Microsoft.                          Novell, 505 F.3d

at 318-19.           The court reasoned that some parties might be too

dependent      on    their      existing     business        relationships          with     the

antitrust violators to bring suit.                    Id. at 319 (citing Berger &

Bernstein, An Analytical Framework for Antitrust Standing, 86 Yale

L.J.    809,   879       (1977),    for    the     proposition        that       some    parties

“affected by an antitrust violation may well not sue because of

their    stake      in    an    ongoing     commercial         relationship         with     the

violator.”).        Here, Plaintiffs have alleged plausible reasons that

the     distributors       are     disincentivized           from     suing       Defendants.

Defendants      allegedly        employ     both     carrot      and    stick,          offering

distributors         rebates       for     their     part      in     excluding         generic

manufacturers and threatening to cancel contracts or deny access

to     products      should      the     distributors        fail      to    meet        loyalty

thresholds.         (Doc. 78 ¶ 80-82.)           Although these allegations about

the    relationship        between       Defendants      and    the    distributors         are

insufficient to overcome Illinois Brick’s bright-line rule, they

                                             39



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are relevant for the third and fourth AGC factors.                Illinois Brick

and      proximate   cause    are,   however,    ultimately        analytically

distinct.       See Illinois Brick at 431 U.S. at 728 n.7; see also

Interior Molded Doors, 2019 WL 4478734 at *13.

        As to Defendants’ second reason — that Plaintiffs are not

participants in the wholesale market for CPPs — Defendants cite in

support White v. Rockingham Radiologists, Limited, 820 F.2d 98,

104 (4th Cir. 1987), for the proposition that not being an “actual

consumer or competitor in the relevant market plays a meaningful

role” under AGC.        (Doc. 95 at 35-36 & n.14.)10          But Defendants

characterize      the   alleged   (and   unchallenged)     relevant      product

market to fit their argument; nowhere do Plaintiffs constrain the

relevant product market(s) to the wholesale level.                (Doc. 78 ¶ 194

(defining product markets as comprised of each AI but not at

wholesale level only).)           Moreover, Defendants do not address

Plaintiffs’ allegations of how the loyalty programs result in

supracompetitive prices and limited market options for CPPs for

Plaintiffs, even though they purchase from Defendants’ alleged co-

conspirators. (See Doc. 95 at 32-36; Doc. 78 ¶¶ 69-88).

        And as to the third reason, Defendants argue that generic



10 As Defendants concede, the Fourth Circuit has expressly rejected a
bright-line approach that forecloses claims by non-consumers and non-
competitors. See Novell, Inc., 505 F.3d at 311-12 (rejecting bright-
line rule that only a consumer or competitor in a given market has
antitrust standing).


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manufacturers could reach farmers through other means, such as e-

commerce.     While plausibly true, Defendants fail to address the

complaint’s allegation that their loyalty programs substantially

foreclose the most efficient channel of distribution through which

eighty percent of the sales of CPPs run.                  (Doc. 78 ¶¶ 59, 66); see

also Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 328

(1961) (“[T]he competition foreclosed by the contract must be found

to    constitute     a    substantial      share     of   the   relevant     market.”

(emphasis added)).              Whether other distribution channels would

suffice to provide a sufficiently competitive market is a factual

question.     Here, the complaint plausibly alleges that pursuing

these alternatives would be prohibitively inefficient for generic

manufacturers,       who    lack    access      to   warehouses,    logistics,      and

retail    networks       with    longstanding relationships             with farmers.

(See Doc. 78 ¶ 67.)

       In sum, the court concludes Plaintiffs are the most direct

victims of the alleged anticompetitive conduct under AGC, and

accordingly factors 3 and 4 favor Plaintiffs.

       The fifth, final factor considers                  “whether a finding of

antitrust standing would lead to ‘problems of identifying damages

and     apportioning       them    among     those     directly    and     indirectly

harmed.’”     Novell, 505 F.3d at 319 (quoting Kloth, 444 F.3d at

324).    This factor favors Defendants.              Plaintiffs’ theory of harm,

as previously noted, is that the exclusion of generic manufacturers

                                           41



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allows   Defendants   to   impose   supracompetitive     prices.      These

supracompetitive prices were first paid by distributors, before

Plaintiffs purchased CPPs from distributors and retailers.               But

the distributors receive a subsequent rebate from Defendants for

participating in the loyalty programs.       Apportioning damages would

require the court to determine what amount of the overcharge was

absorbed by the different entities within the distribution chain,

an analysis that, while more complicated, is not impossible given

the existence of Defendants’ rebate program.

     On balance, the court finds the AGC factors do not warrant

dismissal of the federal antitrust claims here.        Factors 1-4 favor

Plaintiffs, while the potential practical problems associated with

apportionment of damages favor Defendants.

     As is apparent from the above analysis, AGC factor 5 is not

relevant where the claim seeks injunctive relief, and factors 3

and 4 are of diminished relevance.       One court has observed:

          The latter three AGC factors ensure that the most
     direct victims of . . . anticompetitive conduct obtain
     relief and prevent multiple lawsuits. Equitable relief,
     however, “raises no threat of multiple lawsuits or
     duplicative recoveries.”   Cargill, Inc. v. Monfort of
     Colo., Inc., 479 U.S. 104, 111 n.6 (1986). Indeed, “one
     injunction is as effective as 100.” Hawaii v. Standard
     Oil Co., 405 U.S. 251, 261 (1972). In other words,
     injunctive relief vindicates the rights of all victims
     equally.

In re Interior Molded Doors Antitrust Litig., 2019 WL 4478734, at

*9 (quotation marks and citation omitted) (ellipsis in original).


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Because the court found that factors 1 and 2 favor Plaintiffs, it

concludes that dismissal of all federal antitrust claims seeking

injunctive relief for lack of proximate cause is unwarranted,

either because four of the five AGC factors favor Plaintiffs’

standing, or because only the first two factors are of primary

relevance        for    injunctive    relief   and    both     favor    Plaintiffs’

standing.        See Pocahontas Supreme Coal Co., 828 F.2d at 220 (“The

‘antitrust       standing’    requirements     for    claimants        seeking   only

injunctive relief concededly are less stringent than are those for

claimants seeking treble money damages.”).

              2.       State Antitrust and Consumer Protection Claims

        The court turns next to Defendants’ arguments for dismissal

of Plaintiffs’ state law claims.               While Plaintiffs are farmers

from      nine     states,   their    complaint      alleges    state     antitrust

violations occurring in twenty-nine states and territories11 and

state consumer protection act violations occurring in twenty-seven

states and territories.12         The amalgamation of these claims in this


11The state antitrust claims arise under the laws of Arizona, California,
Connecticut, District of Columbia, Illinois, Iowa, Kansas, Maine,
Maryland, Michigan, Minnesota, Mississippi, Montana, Nebraska, Nevada,
New Hampshire, New Mexico, New York, North Carolina, North Dakota,
Oregon, Puerto Rico, Rhode Island, South Dakota, Tennessee, Utah,
Vermont, West Virginia, and Wisconsin.

12 The state consumer protection act claims arise under the laws of
Arkansas, California, Colorado, District of Columbia, Florida, Hawaii,
Illinois, Kansas, Massachusetts, Minnesota, Missouri, Montana, Nebraska,
Nevada, New Hampshire, New Mexico, New York, North Carolina, North
Dakota, Oregon, Pennsylvania, Rhode Island, South Carolina, South
Dakota, Utah, Virginia, and West Virginia.

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one MDL action presents complex questions that require state-

specific analysis, which is challenging given that the parties

have devoted only a portion of their briefing to these claims.              As

a result, Defendants have moved to dismiss these state law claims

largely on several common grounds, which the court addresses below.

                a.   Causation

     Defendants   contend     that   Plaintiffs’   state       antitrust   and

consumer protection claims should be dismissed for failure to

plausibly allege proximate causation. In a series of string cites,

Defendants point to antitrust cases across states that they contend

demonstrate (1) some states apply AGC; (2) some states apply a

modified AGC test; and (3) some states have a more “state-specific

remoteness inquiry.”    (Doc. 95 at 38-39 & nn.16-18.)            They argue

that similar causation requirements are imposed by states under

the consumer protection statutes at issue here as well.               (Id. at

41-44.)   Importantly, Defendants do not contend that any state

imposes a higher causation burden than exists under federal law.

For this reason, and because as noted above the court concludes

four of the five AGC factors favor Plaintiffs, Defendants have not

demonstrated that any state law claims should be dismissed for

lack of proximate causation at this stage.

                b.   Out-of-State Injuries

     Defendants next argue that Plaintiffs’ claims under the laws

of states where no named Plaintiff purchased any of Defendants’

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CPPs should be dismissed for lack of Article III or statutory

standing. (Doc. 95 at 44-45 (citing Mayor of Baltimore v. Actelion

Pharms.   Ltd.,   995     F.3d   123,   133-34    (4th    Cir.      2021)).)     As

Plaintiffs correctly argue (Doc. 110 at 42-43), however, claims on

behalf    of   putative    class    members   “need      not   be    stricken    or

disregarded” under these circumstances.            Mayor of Baltimore, 995

F.3d at 134.    Rather, any claims under the law of states where the

named Plaintiffs do not allege they purchased Defendants’ CPPs,

but class members did, is properly considered as a question under

Rule 23 at the class certification stage, should this action

proceed to that point.        Id.

                  c.      Intrastate Conduct

     Defendants argue that Plaintiffs’ claims under the New York

Donnelly Act, N.Y. Gen. Bus. Law § 340 et seq., Massachusetts

Consumer Protection Act (“MCPA”), Mass. Gen. Laws Ann. Ch. 93A § 1

et seq., and New Hampshire Consumer Protection Act (“NHCPA”), N.H.

Rev. Stat. Ann. § 358-A:1 et seq., should be dismissed for failure

to allege sufficient intrastate conduct.                 (Doc. 95 at 46-49.)

Because the court will dismiss Plaintiffs’ MCPA claim on other

grounds, infra, it need not address the parties’ positions as to

intrastate conduct for that claim.            As to the Donnelly Act and

NHCPA claims, Plaintiffs argue that Defendants ignore that they

have realleged by reference preceding allegations for each of these

state law claims such that intrastate injury is sufficiently

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pleaded.    (Doc. 110 at 43-46.)

     Under New York law, a Donnelly Act claim may be preempted by

federal antitrust laws where the alleged conduct has “little or no

impact on local intrastate commerce.”                WorldHomeCenter.com, Inc.

v. PLC Lighting, Inc., 851 F. Supp. 2d 494, 500 (S.D.N.Y. 2011).

Here,    Plaintiffs    realleged    every     preceding       allegation    in   the

complaint, thus alleging that (1) Plaintiffs or class members

purchased    CPPs     in   New   York,    (2)    Defendants       established     or

maintained a monopoly in New York for CPPs, and (3) Plaintiffs or

class members were injured in New York.                  (Doc. 78 ¶¶ 420, 422,

424, 425.)       As in WorldHomeCenter.com, Inc., these intrastate

commerce allegations may be “sparse,” but they are nevertheless

sufficient to avoid a preemption challenge at the motion to dismiss

stage.     WorldHomeCenter.com, Inc., 851 F. Supp. 2d at 500-01; cf.

Conergy AG v. MEMC Elec. Materials, Inc., 651 F. Supp. 2d 51, 60-

62 (S.D.N.Y. 2009) (accepting preemption argument at motion to

dismiss stage where there was no allegation that the defendants

served New York customers).

     Defendants’ positions as to the NHCPA fare no better.                    Under

the NHCPA, the alleged conduct must constitute “trade or commerce

within    [New   Hampshire].”       N.H.      Rev.    Stat.    Ann.    §   358-A:2.

Defendants’ reliance on Precourt v. Fairbank Reconstruction Corp.,

856 F. Supp. 2d 327, 343-44 (D.N.H. 2012), is unavailing at this

stage.     (See Doc. 95 at 34.)      In Precourt, the plaintiff did not

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allege that any conduct by the defendant occurred in New Hampshire.

Precourt, 856 F. Supp. 2d at 343-44.      By contrast, Plaintiffs here

realleged all preceding allegations in the complaint and alleged

that   (1) class members      purchased CPPs     in   New   Hampshire,      (2)

Defendants established or maintained a monopoly in New Hampshire,

and (3) class members were injured.           (Doc. 78 ¶¶ 260, 641, 644,

645, 650.)    At this stage, these allegations suffice to preclude

dismissal of Plaintiffs’ Donnelly Act and NHCPA claims on this

ground.

                d.    Lack of Illinois Brick Repealer

       Defendants argue that Plaintiffs’ claims under the Montana

Unfair Trade Practices and Consumer Protection Acts, Mont. Code

Ann. §§ 30-14-101, et seq., and 30-14-201, et seq., and the Puerto

Rico Antitrust Act (“PRAA”), 10 L.P.R.A. § 257, et seq., should be

dismissed because neither contains an Illinois Brick repealer.

(Doc. 95 at 49.)     Generally, Illinois Brick repealer laws permit

recovery for indirect purchasers under state law.               See California

v. ARC Am. Corp., 490 U.S. 93, 105-06 (1989) (holding such statutes

are not preempted by federal law).            Defendants therefore argue

that because Plaintiffs’ claims are by indirect purchasers and

these states do not permit such claims, they should be dismissed.

As to Montana, Plaintiffs respond that claims under Montana’s

consumer protection statute are not barred by Illinois Brick.

(Doc. 110 at 46.)     Defendants reply that these Montana Consumer

                                   47



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Protection Act claims should be barred for reasons other than

Illinois Brick.     (Doc. 124 at 28.)     The viability of such claims

is therefore discussed further below.         As to Puerto Rico law, a

majority   of   federal   district   courts   have    concluded       indirect

purchasers are barred from seeking damages under the PRAA.               See,

e.g., In re Broiler Chicken Antitrust Litig., No. 16 C 8637, 2020

WL 4032932, at *4 (N.D. Ill. July 15, 2020); In re Aggrenox

Antitrust Litig., 94 F. Supp. 3d 224, 252 (D. Conn. 2015); United

Food & Commercial Workers Local 1776 v. Teikoku Pharma USA, Inc.,

74 F. Supp. 3d 1052, 1087 (N.D. Cal. 2014).          This court, however,

agrees with those courts that have concluded indirect purchasers

may proceed with claims for damages under the Supreme Court of

Puerto     Rico’s   controlling      interpretation      of     the     PRAA.

Interpreting that statute, the Supreme Court of Puerto Rico has

explained there is only a minimal causation requirement:

     We rule that it is not necessary, in order to satisfy
     the “by reason of” requirement [within the PRAA], for
     the complaining party to prove anything more than a
     factual causal link between the harm suffered and the
     violation of the statute; that is, it is sufficient that,
     as a result of the violation of the law, the plaintiff
     has suffered damage.
Pressure Vessels P.R. v. Empire Gas P.R., 137 P.R. Dec. 497, 520

(1994) (Westlaw translation).

     Although the Illinois Brick rule was not at issue in Pressure

Vessels, the Supreme Court of Puerto Rico did note United States

Supreme Court cases considering the rule when it pronounced this


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minimal causation requirement for the PRAA.                 See id. at 519 (citing

UtiliCorp, 497 U.S. 199, and Blue Shield of Va. v. McCready, 457

U.S. 465 (1982)).            The United States District Court for the

District      of   Puerto    Rico      has   relied    on   Pressure     Vessels    in

concluding that Illinois Brick does not bar indirect purchasers

under the PRAA.          Rivera-Muniz v. Horizon Lines Inc., 737 F. Supp.

2d 57, 61 (D.P.R. 2010).             A district court in the Fourth Circuit

has reached the same conclusion.              See In re Zetia Antitrust Litig.,

400 F. Supp. 3d at 433.           In like fashion, this court concludes the

Illinois Brick rule does not bar Plaintiffs from proceeding under

the PRAA.

                    e.      Class Action Bars

        Defendants    contend       that     Plaintiffs’     consumer     protection

claims     under   the     laws   of    Arkansas,     Illinois,     Montana,    South

Carolina, and Utah13 should be dismissed because these states’

consumer      protection      acts      (“CPAs”)      expressly    prohibit     class

actions. (Doc. 95 at 50-51.) Defendants argue that, under Justice

Stevens’s concurring opinion in Shady Grove, which they contend

controls, Federal Rule of Civil Procedure 23 does not preempt these

statutory bars on class actions because they are “so intertwined


13The relevant statutes are the Arkansas Deceptive Trade Practices Act,
Ark. Code Ann. § 4-88-101, et seq., Illinois Consumer Fraud and Deceptive
Business Practice Act, 815 Ill. Comp. Stat. Ann. 505/1, et seq., Montana
Unfair Trade Practices and Consumer Protection Act, Mont. Code Ann. §§
30-14-101, et seq., and 30-14-201, et seq., South Carolina, S.C. Code
Ann. § 39-5-10, et seq., and Utah Consumer Sales Practices Act, Utah
Code. Ann. § 13-11-1, et seq.

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with a state right or remedy that [they] function[] to define the

scope of the state-created right[s].”             (Id. (quoting Shady Grove

Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 423

(2010) (Stevens, J., concurring)).)            In response, Plaintiffs argue

that “numerous federal courts” have held that Rule 23 preempts

these state class action bars.             (Doc. 110 at 47-48.)            While

Defendants contend that Plaintiffs “do not dispute” that Justice

Stevens’s opinion controls (Doc. 124 at 29), Plaintiffs do not

expressly state a position on which Shady Grove opinion controls.

(See Doc. 110 at 47-48.)

     In Shady Grove, the plaintiffs brought a class action in

federal court under New York law to recover statutory interest

penalties on overdue payments of insurance benefits.               Shady Grove,

559 U.S. at 397.   The issue before the Court was whether a separate

New York state law, N.Y. Civ. Prac. Law Ann. § 901(b), which

generally    precludes    an    action    to    recover    a   “penalty”     from

proceeding as a class action, applies in diversity suits in federal

court.      Id. at 396.        The plaintiffs contended that Rule 23

controlled class actions in federal court, and thus their action

was not barred by the New York rule; Allstate contended that the

New York rule addressed a separate, antecedent question – “whether

the particular type of claim is eligible for class action treatment

in the first place” – such that there was no conflict between the

federal and state rules, and the court was free to apply the New

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York rule.   Id. at 399-400.

     To decide the case, a plurality of the Court explained that

it must first decide if the federal rule “answers the question in

dispute,” and if so, then decide secondly if the federal rule

“exceeds statutory authorization or Congress’s rulemaking power”

under the Rules Enabling Act, 28 U.S.C. § 2072(a).              Id. at 398.      A

majority of the Court agreed at step one that Rule 23 provides a

“one-size-fits-all     formula     for      deciding    the      class-action

question” — i.e., the question of whether a “class action may be

maintained.”    Id. at 399, 402.     A majority also agreed at step two

that Rule 23 trumps section 901(b), but not without splintered

understanding of how to determine the applicability of a federal

rule which conflicted with a state rule.

     Under Justice Scalia’s four-justice plurality opinion, the

applicability of a conflicting federal rule in a diversity action

depends solely on whether the federal rule “regulates procedure.”

Id. at 406-10 (Scalia, J.).      As to Rule 23, the plurality reasoned

that it regulates procedure, and thus applies in diversity suits,

principally because the only impact it has on substantive rights

is “incidental” to its procedural purposes.            Id. at 410, 415-16

(Scalia, J.).

     Justice    Stevens,   writing    for   himself,    concurred      in   the

judgment and stated that the Court should instead focus on whether

the state rule is “so bound up with,” or “sufficiently intertwined

                                     51



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with,” a substantive state law right or remedy “that it defines

the scope of that substantive right or remedy.”                  Id. at 420, 428

(Stevens, J., concurring).         He concluded New York’s law was not

substantive and the federal rule controlled.               Id. at 436.         Justice

Stevens reasoned that “the bar for finding an Enabling Act problem

is a high one” and there must be “little doubt” that a federal

rule would alter a state-created right in order to apply the state

rule.   Id. at 432 (Stevens, J., concurring).              He further reasoned

that any doubt that section 901(b) is not procedural should be

resolved in favor of applying Rule 23 instead.                           Id. at 436

(Stevens, J., concurring). He observed that section 901(b)’s broad

applicability to claims under all of New York law, other states’

laws, and federal law is evidence that it does not define New York

citizens’    substantive    rights       or    remedies,     and     that      section

901(b)’s limit on class actions merely makes filing suit more

difficult, akin to raising filing fees or setting deadlines for

briefs,     such    that   the    rule        has   “classically          procedural

calibration.”      Id. at 433-35 (Stevens, J., concurring).

     “When    a    fragmented    Court    decides     a   case     and    no   single

rationale explaining the result enjoys the assent of five Justices,

‘the holding of the Court may be viewed as that position taken by

those Members who concurred in the judgments on the narrowest

grounds[.]’”       Marks v. United States, 430 U.S. 188, 193 (1977).

That is not always easy to discern, and consequently courts have

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not settled on which Shady Grove opinion controls.                    James River

Ins. Co. v. Rapid Funding, LLC, 658 F.3d 1207, 1217 (10th Cir.

2011)   (noting    that    the   Tenth    Circuit    has    understood     Justice

Stevens’s opinion to be controlling under Marks); Albright v.

Christensen, 24 F.4th 1039, 1044 n.1 (6th Cir. 2022) (“[W]e restate

our conclusion . . . that Justice Stevens’s concurrence in Shady

Grove controls the test governing the [Rules Enabling Act] and

constitutional standards”); Abbas v. Foreign Pol’y Grp., LLC, 783

F.3d 1328, 1336-37 (D.C. Cir. 2015) (Kavanaugh, J.) (holding that

there is no Marks controlling opinion in Shady Grove and applying

Sibbach v. Wilson & Co., 312 U.S. 1 (1941)).                The Fourth Circuit

has not definitively adopted the reasoning of one opinion, see

Pledger v. Lynch, 5 F.4th 511, 518-524 (4th Cir. 2021) (discussing

Shady Grove at length, never citing or discussing Justice Stevens’s

concurrence, and discussing the procedural purpose of both the

federal and the state rule); id. at 527-32 (Quattlebaum, J.,

concurring) (same), but at least one district court in this circuit

has adopted Justice Stevens’s concurrence, see Fejzulai v. Sam’s

West, Inc., 205 F. Supp. 3d 723, 726 (D.S.C. 2016) (stating, albeit

without any data, that “a majority of courts have concluded that

Justice Stevens’ concurring opinion is controlling in view of the

‘narrowest grounds’ principle”).               See also Ryan C. Williams,

Questioning       Marks:    Plurality         Decisions      and     Precedential

Constraint, 69 Stanford L. Rev. 795, 859-64 (2017) (discussing

                                         53



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difficulty of applying Marks to Shady Grove because the dissent

did not weigh in on the issue that divided the plurality and

concurrence).

        Here, there is little doubt that a class action could proceed

under Arkansas, Illinois, Montana, South Carolina, and Utah law if

Justice Scalia’s plurality opinion were applied.                  First, the same

rule at issue in Shady Grove, Rule 23, “answers the question” in

dispute: whether a class action may be maintained.                    Shady Grove,

559 U.S. at 398.             Second, because Rule 23 “really regulates

procedure” and is not challenged by Defendants as ultra vires, the

Shady Grove plurality would apply it here.                  Id. at 410 (Scalia,

J.) (citation omitted).

        Though Defendants advocate for the “statute-specific inquiry

advanced by Justice Stevens,” they do not themselves analyze the

text of any of the state statutes at issue or point to any

legislative        history   to   support    their     position       that    Justice

Stevens’s approach requires the court to bar the challenged class

action claims.       (Doc. 124 at 30; see Shady Grove, 559 U.S. at 431-

35     (Stevens,    J.,   concurring)   (discussing        statutory         text   and

legislative history of New York law).                The parties have cited a

mixed (and sizeable) assortment of district court cases applying

Shady Grove to these laws, with some barring class actions,14 and


14   In re Solodyn (Minocycline Hydrochloride) Antitrust Litig., No. CV 14-


                                        54



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others permitting them.15         See PNY Techs., Inc. v. SanDisk Corp.,

No. 11-CV-04689, 2014 WL 1677521, at *5 n.7 (N.D. Cal. Apr. 25,

2014) (observing that it is “not the Court’s job to dig through

[string-cited cases] to discern and craft an argument” for                        a

party).

        Given the parties’ limited treatment of this issue and the

relative uncertainty as to the appropriate test to apply under

Shady Grove in this circuit, the court concludes that it is

premature to preclude the challenged class action claims at this

stage.      On   this   limited   briefing,   the   court   cannot    conclude


MD-02503, 2017 WL 4621777, at *20 (D. Mass. Oct. 16, 2017) (holding at
class certification stage that Montana class action bar trumps Rule 23);
In re Packaged Ice Antitrust Litig., 779 F. Supp. 2d 642, 661 n.4 (E.D.
Mich. 2011) (stating that, even though Montana claim was dismissed on
other grounds, the class action would “likely continue to be barred in
federal court” under Shady Grove); Stalvey v. Am. Bank Holdings, Inc.,
No. 4:13-CV-714, 2013 WL 6019320, at *4 (D.S.C. Nov. 13, 2013) (barring
class action claim under South Carolina law); Fejzulai v. Sam's W., Inc.,
205 F. Supp. 3d 723, 729 (D.S.C. 2016) (same); Est. of Pilgrim v. Gen.
Motors LLC, 344 F.R.D. 381, 405-06 (E.D. Mich. 2023) (barring Utah and
Montana class action claims under Shady Grove after acknowledging that
the plaintiffs offered no response on the issue); In re Target Corp.
Data Sec. Breach Litig., 66 F. Supp. 3d 1154, 1165 (D. Minn. 2014)
(barring Utah class action claim where the plaintiff conceded the issue).
15In re Broiler Chicken Antitrust Litig., 290 F. Supp. 3d 772, 818 (N.D.
Ill. 2017) (not barring Illinois class action claim); In re Vascepa
Antitrust Litig. Indirect Purchaser Plaintiffs, No. 21-12061, 2023 WL
2182046, at *5 (D.N.J. Feb. 23, 2023) (same); Mayor & City Council of
Baltimore v. Merck Sharp & Dohme Corp., No. 23-828, 2023 WL 8018980, at
*13 (E.D. Pa. Nov. 20, 2023) (same); In re Toyota RAV4 Hybrid Fuel Tank
Litig., 534 F. Supp. 3d 1067, 1115 (N.D. Cal. 2021) (not barring Montana
class action claim); In re Packaged Seafood Prod. Antitrust Litig., 242
F. Supp. 3d 1033, 1085-86 (S.D. Cal. 2017) (not barring South Carolina
class action claim); In re Dealer Mgmt. Sys. Antitrust Litig., 362 F.
Supp. 3d 510, 553 & n.23 (N.D. Ill. 2019) (concluding the plaintiffs’
class-action claims would survive under either the plurality or Justice
Stevens’s approach and permitting Alaska, Arkansas, Georgia, and South
Carolina class actions).

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Defendants have met their burden at the motion to dismiss stage to

clear the “high [bar]” for “finding an Enabling Act problem,” even

assuming Justice Stevens’s Shady Grove opinion controls.                     559 U.S.

at 432.   Cf. id. (“The mere possibility that a federal rule would

alter a state-created right is not sufficient.                         There must be

little doubt.”).      Instead, the parties may more fully address the

applicability    of     Shady   Grove        on   a   more    developed       record.

Defendants’    motion    to   dismiss    the      class    action       claims   under

Arkansas, Illinois, Montana, South Carolina, and Utah law will

therefore be denied without prejudice.

                 f.     Non-Commercial Consumers

     Defendants assert that Plaintiffs’ CPA claims under the laws

of the District of Columbia, Massachusetts, Missouri, Montana,

Oregon, Pennsylvania, Rhode Island, Utah, and Virginia should be

dismissed because these acts protect only personal, rather than

commercial, use of goods.         (Doc. 95 at 52-53.)                  Specifically,

Defendants contend that because Plaintiffs used the CPPs in their

businesses, the CPAs cannot apply.            (Id.)     Plaintiffs counter that

“personal” use merely means that the goods were not purchased for

resale, which they maintain the complaint alleged.                      (Doc. 110 at

48-49.)   Plaintiffs conceded at oral argument, however, that this

litigation is “about commercial farmers,” who “use [CPPs] for their

businesses.”    (Doc. 156 at 77-78).

     The CPAs of the above jurisdictions cabin relief to purchases

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for personal, family, or household purposes. 16          As Defendants point

out, Plaintiffs allege that they use the CPPs in “their business.”

(Doc. 78 ¶ 1; id. ¶¶ 18-28 (describing occupation of Plaintiffs as

“farmer”).)      Moreover, as discussed below, case law analyzing each

of     these   CPAs   supports    Defendants’    position   that    Plaintiffs

purchased CPPs outside of the “personal, family, or household”

context.

        Under the District of Columbia Consumer Protection Procedures

Act (“DCCPPA”), D.C. Code § 28-3901, et seq., a purchase other

than for resale has been described as “usually” personal.               Adam A.

Weschler & Son, Inc. v. Klank, 561 A.2d 1003, 1005 (D.C. 1989).

However, courts have found that the purchase of goods for a

business would be exempt from the DCCPPA.           Ford v. Chartone, Inc.,

908 A.2d 72, 84 n.12 (D.C. 2006) (“A purchase of supplies or

equipment for a business operation, for example, might be exempt

even though such goods would not be resold.”); Mazanderan v. Indep.


16The relevant statutes are the District of Columbia Consumer Protection
Procedures Act, D.C. Code § 28-3901(a)(2)(B)(i) (“normally use for
personal, household, or family purposes”); Missouri Merchandising
Practices Act, Mo. Ann. Stat. § 407.025(1) (“primarily for personal,
family or household purposes”); Montana Unfair Trade Practices and
Consumer Protection Act, Mont. Code Ann. § 30-14-102(1) (“primarily for
personal, family, or household purposes”); Oregon Trade Practices Act,
Or. Rev. Stat. Ann. § 646.605(6)(a) (“primarily for personal, family or
household purposes”); Pennsylvania Unfair Trade Practices and Consumer
Protection Law, 73 Pa. Stat. Ann. § 201-9.2 (“primarily for personal,
family or household purposes”); Rhode Island Deceptive Trade Practices
Act, R.I. Gen. Laws § 6-13.1-5.2(a) (“primarily for personal, family,
or household purposes”); Utah Consumer Sales Practices Act, Utah Code
Ann. § 13-11-3(2)(a)(i) (“primarily personal, family, or household
purposes”); Virginia Consumer Protection Act, Va. Code Ann. § 59.1-198
(“used primarily for personal, family or household purposes”).

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Taxi Owners’ Ass’n, Inc., 700 F. Supp. 588, 591 (D.D.C. 1988)

(exempting       purchase   of    gasoline   by    taxicab   driver);     Shaw    v.

Marriott Int’l, Inc., 605 F.3d 1039, 1043-44 (D.C. Cir. 2010)

(exempting employer’s payment of employee’s hotel stay as “not

meaningfully different than its purchase of a stapler for the

office,” which are both “done for a business purpose”).

        Here, Plaintiffs do not allege that CPPs are used for anything

other     than   for business      reasons   –    i.e.,   that   Plaintiffs      are

commercial farmers rather than growing crops for personal use.

However, they contend that Klank holds that a “transaction is

covered by the statute so long as ‘the purchaser is not engaged in

the regular business of purchasing . . . and reselling it.”                  (Doc.

110 at 49 (ellipsis in original).)               Yet they elide the nuance in

Klank’s analysis, which is that lack of resale “usually” would put

it within the scope of the DCCPPA.           Klank, 561 A.2d at 1005; Shaw,

605 F.3d at 1043 (discussing Klank and stating that “usually does

not mean always”).          While Plaintiffs contend that their purchase

of CPPs has in it a “personal ingredient” (Doc. 110 at 49 n.50),

they cite no authority to show that this is by itself sufficient.

This proposition also fails to address how the good is “normally

use[d],” as the court must consider under the DCCPPA.                   D.C. Code

§ 28-3901(a)(2)(B)(i).17           Accordingly, Plaintiffs’ DCCPPA claim


17   Under other states’ CPAs, the court must typically look to the primary


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will be dismissed.

     Plaintiffs’ claims under Missouri’s, Montana’s, Oregon’s,

Pennsylvania’s, Rhode Island’s, Utah’s and Virginia’s CPAs fare no

better.   Courts have held similar allegations as alleged here to

be insufficient to state a claim.      Crane v. Archer Daniels Midland

Co., No. 2:24-CV-3, 2024 WL 2803025, at *7-*8 (E.D. Mo. May 31,

2024) (under Missouri MPA, holding that the purchase of rabbit

feed “for the purpose of breeding and selling             [the rabbits’]

progeny as show rabbits” constituted a business purpose, rather

than personal purpose, and therefore dismissing the claim); cf.

Kerr v. Vatterott Educ. Centers, Inc., 439 S.W.3d 802, 810-11 (Mo.

Ct. App. 2014) (affirming that the Missouri MPA requires proof

that the good was purchased “for primarily a personal, family, or

household purpose,” and deferring to jury finding that vocational

training was a consumer service because, for the plaintiff, it was

“valueless because it did not count toward her nursing degree” and

instead the education was obtained “for the sake of receiving it”);

see In re DRAM Antitrust Litig., 516 F. Supp. 2d 1072, 1113 (N.D.

Cal. 2007) (under Montana UTPCPA, acknowledging that a business

entity could be a consumer, but holding that the plaintiffs failed

to allege that they had used the good for personal use); In re




purpose of the purchase to determine if it is covered. E.g., Mo. Ann.
Stat. § 407.025(1) (“primarily for personal, family or household
purposes”). A mere “personal ingredient” would not suffice here, either.

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Auto. Parts Antitrust Litig., No. 12-MD-02311, 2013 WL 2456612, at

*30 (E.D. Mich. June 6, 2013) (under Montana UTPCPA, barring claim

by automobile dealers who purchased car parts from suppliers

because they were intermediaries rather than consumers using goods

for personal, family, or household use); Miller v. Hubbard-Wray

Co., 630 P.2d 880, 905-06, modified, 53 Or. App. 531, 633 P.2d 1

(Or. Ct. App. 1981) (under Oregon TPA, dismissing claim where a

plaintiff purchased a baler to feed his cattle for his family

cattle business); Searle v. Exley Exp., Inc., 564 P.2d 1054, 1056

(Or. 1977) (under Oregon TPA, holding that freight truck purchase

was not personal because “it would be purchased to carry on a

business”); Balderston v. Medtronic Sofamor Danek, Inc., 152 F.

Supp. 2d 772, 776, 780 (E.D. Pa. 2001) (citing Valley Forge Towers

S. Condo. Ass’n v. Ron-Ike Foam Insulators, Inc., 574 A.2d 641,

645 (Pa. Super. 1990)) (under Pennsylvania UTPCPL, dismissing the

plaintiff’s claim where he, a doctor running a medical practice,

had purchased surgical screws for his business); In re Glumetza

Antitrust Litig., 611 F. Supp. 3d 848, 869-70 (N.D. Cal. 2020)

(under Rhode Island DTPA, dismissing claim where plaintiffs used

good to provide it to “subsequent consumers”); Miami Prods. & Chem.

Co. v. Olin Corp., 546 F. Supp. 3d 223, 235 (W.D.N.Y. 2021) (under

Utah CSPA, dismissing claim where plaintiffs’ purchased caustic

soda, which is a “commodity chemical” sold and used “for industrial

purposes”); Baker v. Elam, 883 F. Supp. 2d 576, 579 (E.D. Va. 2012)

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(under Virginia CPA, holding that purchase of canine semen for

breeding was not personal because purchaser was a supplier of

canines).

     Plaintiffs’ reliance on Mayor & City Council of Baltimore v.

Merck Sharp & Dohme Corp., No. 23-828, 2023 WL 8018980 (E.D. Pa.

Nov. 20, 2023), is inapposite, as the court there permitted the

claim   by   the     city    plaintiff    to   proceed      because      it    had

“transitively” purchased vaccines on behalf of its individual

citizens, id. at *17 (stating that theory was “novel” but akin to

an insurer who reimburses members for purchases, whose claims had

been permitted to proceed).        Plaintiffs make no such transitive

argument here.      Plaintiffs cite no authority to support treating

their purchases as transactions for personal, household, or family

purposes, and consistent with the courts that have held similar

allegations insufficient, this court will dismiss Plaintiffs’ CPA

claims under the laws of the District of Columbia, Missouri,

Montana, Oregon, Pennsylvania, Rhode Island, Utah and Virginia

(Claims 16, 36, 43, 51, 52, 53, 56, 57.)

     The     Massachusetts      Consumer       Protection         Act   (“MCPA”)

distinguishes      between   “consumer”    claims    under    section      9   and

“business” claims under section 11. Mass. Gen. Laws ch. 93A, §§ 9,

11; Lantner v. Carson, 373 N.E.2d 973, 976 (Mass. 1978) (“[W]here

§ 9 affords a private remedy to the individual consumer . . . , an

entirely different section, § 11, extends the same remedy to ‘[a]ny

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person who engages in the conduct of any trade or commerce.’”).

“[A] plaintiff who acts in a business context has a cause of action

exclusively under § 11.”      Frullo v. Landenberger, 814 N.E.2d 1105,

1112 (Mass. Ct. App. 2004).         While the MCPA permits indirect

purchaser claims under section 9, it does not under section 11.

Rafferty v. Merck & Co., 92 N.E.3d 1205, 1223 n. 7 (Mass. 2018)

(“Unlike claims under § 9, claims under § 11 require not only that

the defendant's conduct occur in “trade or commerce” but also that

there   be   a   commercial    transaction    between    the    parties.”).

Plaintiffs have improperly pleaded a claim under section 9, having

purchased CPPs “in a business context.”          Frullo, 814 N.E.2d at

1112.   Because the court has concluded Plaintiffs are indirect

purchasers under Illinois Brick, the claim would nevertheless fail

even if it were pleaded under section 11.        The court will dismiss

this MCPA claim. (Claim 41).

                 g.   Deceptive, Misleading, or False Acts

     Defendants contend that thirteen of Plaintiffs’ CPA claims

should be dismissed because each of the CPAs underlying those

claims requires allegations of deceptive or misleading conduct.

(Doc. 95 at 54.)      Because the court has already dismissed the

claims under Oregon, Pennsylvania, Utah, and Virginia law (among

others), the remaining state CPA claims challenged on this ground

are brought under Arkansas, Colorado, Illinois, Kansas, Minnesota,

New York, North Dakota, South Dakota, and West Virginia law.

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     As   a   preliminary    matter,     state    CPAs      are   varied in        ways

relevant here.      Some are modeled after section 5 of the Federal

Trade Commission Act, 15 U.S.C. § 45, by declaring unlawful “unfair

or   deceptive     acts     or     practices”     and      “unfair       methods    of

competition.”     E.g., Mont. Code Ann. § 30-14-103.                   Others include

section   5’s    language    and    enumerate     a    non-exhaustive        list    of

unlawful acts or practices.         E.g., 815 Ill. Comp. Stat. Ann. 505/2.

Certain others prohibit unfair or deceptive acts without reference

to “unfair methods of competition.”             E.g., Wyo. Stat. Ann. § 40-

12-105(xv).      And others prohibit “unconscionable” acts without

reference to “unfairness” altogether.                 E.g., Ala. Code § 8-19-

5(27).

     In parsing these differences, “a federal court sitting in

diversity is obliged to apply state law principles to resolve [a

question of state law statutory construction], utilizing such

principles as enunciated and applied by the state’s highest court.”

Volvo Trademark Holding Aktiebolaget v. Clark Mach. Co., 510 F.3d

474, 482 (4th Cir. 2007).            Where there is no existing on-point

interpretation, the court must predict how the state’s highest

court would interpret it.             See King v. Ord. of United Com.

Travelers of Am., 333 U.S. 153, 160–61 (1948).                    In doing so, “a

federal court should not create or extend a State’s public policy.”

Time Warner Ent.-Advance/Newhouse P’ship v. Carteret-Craven Elec.

Membership Corp., 506 F.3d 304, 314–15 (4th Cir. 2007) (quotation

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marks and citation omitted) (alteration adopted).                     Still, it is

the defendant’s burden on a Rule 12(b)(6) motion to marshal the

relevant legal authorities to persuade the court that the plaintiff

has failed to state a claim.         Marcure v. Lynn, 992 F.3d 625, 631

(7th Cir. 2021); Charles Alan Wright & Arthur R. Miller, 5A Federal

Practice and Procedure § 1357 (3d ed. 2019) (“All federal courts

are in agreement that the burden is on the moving party to prove

that no legally cognizable claim for relief exists.”).

      Defendants   first   assert     that    the      Arkansas      Deceptive    and

Unconscionable Trade Practices Act (“ADTPA”), Ark. Code Ann. § 4-

88-107, requires a “deceptive” act.            (Doc. 95 at 55 (quoting and

relying on Skalla v. Canepari, 430 S.W.3d 72, 82 (Ark. 2013)).)

As   Plaintiffs    point   out,    however,      the    ADTPA     prohibits      both

“deceptive” and “unconscionable” practices.               (Doc. 110 at 51-52.)

Defendants make no argument, and point to no authority, to support

reading “unconscionable” not to encompass Plaintiffs’ allegations.

See State ex rel. Bryant v. R & A Inv. Co., 985 S.W.2d 299, 302

(Ark. 1999) (stating that a “liberal construction of the [A]DTPA

is appropriate”); Baptist Health v. Murphy, 226 S.W.3d 800, 811

(Ark. 2006) (noting that definition of unconscionable “includes

conduct   violative   of   public     policy     or    statute”).        Moreover,

Defendants’ reliance on Skalla is unavailing, as the court there

affirmed summary judgment on the grounds that the defendant had

not “engaged in any type of consumer-oriented act or practice.”

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Skalla,      430    S.W.3d   at     82.      Defendants        have       therefore    not

demonstrated they are entitled to have the ADTPA claim dismissed.

        Second, Defendants argue that Plaintiffs’ claim under the

Colorado Consumer Protection Act, Colo. Rev. Stat. Ann. § 6-1-

105(1)(rrr)18       (“CCPA”),      should    be   dismissed.          This     provision

prohibits “[e]ither knowingly or recklessly engag[ing] in any

unfair, unconscionable, deceptive, deliberately misleading, false,

or fraudulent act or practice.”                  Id.     This subparagraph is one

among over seventy enumerated “deceptive trade practice[s]” within

§ 6-1-105.      Defendants cite to a federal court that has construed

subparagraph        (rrr)    not    to    cover        nondeceptive       unfair      trade

practices.         (Doc. 95 at 56); In re HIV Antitrust Litig., No. 19-

cv-02573, 2023 WL 3006572, at *2 (N.D. Cal. Apr. 18, 2023) (stating

that “nondeceptive unfair trade practices are actionable only if

brought under other statutory or common law causes of action such

as the Colorado Antitrust Act”) (emphasis removed); see Sheet Metal

Workers Loc. 441 Health & Welfare Plan v. GlaxoSmithKline, PLC,

737 F. Supp. 2d 380, 407-08 (E.D. Pa. 2010).                     Plaintiffs cite to

two cases where federal courts permitted antitrust claims to



18 The parties agree that Plaintiffs miscited subsection (rr), rather
than (rrr), in the complaint. (See Doc. 78 ¶ 542.) Plaintiffs’ claim
under this statute is entitled “Violation of Colorado Consumer Protection
Act[,] Colo. Rev. Stat. § 6-1-101, et seq.” (Id. at 139.) Plaintiffs
quoted the proper text from subsection (rrr) in the complaint despite
the citation to (rr), and Defendants clearly were on notice of the intent
to plead a claim under subsection (rrr), as they argue for dismissal
under that provision on the merits.

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proceed under subparagraph (rrr).       (Doc. 110 at 53 n.59); In re

Liquid Aluminum Sulfate Antitrust Litig., No. 16-md-2687, 2017 WL

3131977, at *26 (D.N.J. July 20, 2017); In re Generic Pharms.

Pricing Antitrust Litig., 368 F. Supp. 3d 814, 846 (E.D.P.A. 2019).

Neither party cites a Colorado state court decision on point, and

this court has not identified one.      See Rhino Linings USA, Inc. v.

Rocky Mountain Rhino Lining, Inc., 62 P.3d 142, 146-47 (Colo. 2003)

(en banc)(describing an “unfair or deceptive trade practice” as a

necessary element of a CCPA claim without statutory analysis, and

analyzing alleged false statements, not anticompetitive conduct).

     The court agrees with the analysis set out in Sheet Metal and

In re HIV that the structure of the CCPA forecloses Plaintiffs’

claim.   The CCPA enumerates an extensive set of “deceptive acts,”

none of which expressly proscribes anticompetitive conduct without

reference to deception.    Moreover, section 6-1-105(3) supports the

conclusion that the CCPA does not cover non-deceptive acts, as it

states, “[t]he deceptive trade practices listed in this section

are in addition to and do not limit the types of unfair trade

practices actionable at common law or under other statutes of this

state” (emphases added).      While not dispositive, this provision is

some evidence that Colorado’s legislature meant to exclude non-

deceptive unfair acts from the CCPA’s ambit.         See In re HIV, 2023

WL 3006572, at *2.   Plaintiffs’ reliance on In re Liquid Aluminum

Sulfate and In re Generic Pharmaceuticals Pricing as counterpoints

                                   66



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to Sheet Metal and In re HIV is unpersuasive, as neither squarely

addressed the text and structure of subparagraph (rrr).                   In re

Liquid Aluminum Sulfate Antitrust Litig., 2017 WL 3131977, at *2

(permitting CCPA claim over defendants’ argument that plaintiffs

had not alleged “injury in fact to a legally protected interest”);

In re Generic Pharms. Pricing Antitrust Litig., 368 F. Supp. 3d at

846 (permitting CCPA in en masse denial of a motion to dismiss

state CPA claims).         Accordingly, because Plaintiffs do not allege

deception,19 the CCPA claim will be dismissed.

        Third,   Defendants    lump   together   the   remaining    state    CPA

claims under Illinois, Kansas, Minnesota, New York, North Dakota,

South Dakota, and West Virginia law with a lengthy string cite and

request dismissal.         (Doc. 95 at 57-58 n.52.)      Plaintiffs counter

with string cites of their own.             (Doc. 95 at 50-53.)      As to the

Illinois Consumer Fraud and Deceptive Business Practices Act and

West Virginia General Consumer Protection Act, each expressly

prohibits      “[u]nfair    methods   of    competition”    in    addition    to

“deceptive” acts.        815 Ill. Comp. Stat. Ann. 505/2; W. Va. Code

§ 46A-6-104.       Defendants do not, however, argue on this motion


19 In a footnote, Plaintiffs contend that Defendants engaged in some
deception because Plaintiffs did not have knowledge of the details of
the loyalty programs and because they “relied on the assumption that
they were charged legal prices for Defendants’ products.” (Doc. 110 at
50 n.51.) They neither reference the complaint nor any legal authority
to support finding this allegation sufficient to support a claim for
deceptive conduct. Cf. In re Niaspan Antitrust Litig., 42 F. Supp. 3d
735, 760 (E.D. Pa. 2014) (distinguishing between conduct involving
deception and conduct that is “merely anticompetitive”).

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that    Plaintiffs     have   failed     to    allege    “unfair       methods    of

competition.”       The North Dakota Unlawful Sales or Advertising

Practices Act and Kansas Consumer Protection Act, like the Arkansas

DTPA,    prohibit     “unconscionable”        conduct,    and       the   Minnesota

Consumer Fraud Prevention Act prohibits “unfair or unconscionable

practice[s].”       N.D. Cent. Code § 51-15-02; Kan. Stat. Ann. § 50-

623(b); Minn. Stat. § 325F.69.          Defendants similarly do not argue

that Plaintiffs have failed to allege “unfair” or “unconscionable”

conduct.   Defendants have therefore failed to meet their burden of

demonstrating that the Illinois, West Virginia, North Dakota,

Minnesota, and Kansas CPA claims should be dismissed.

       As to the New York Consumer Protection Statute (“NYCPS”) and

South Dakota Deceptive Trade Practices Act (“SDDTPA”), Defendants

argue (Doc. 124 at 35 n.24) that Plaintiffs concede that these two

states only prohibit “deceptive” acts, (see Doc. 110 at 51 n.55

(implying that NYCPS and SDDTPA do not contain the terms, “unfair”

or “unconscionable”)).        This conclusion is supported by the text

of each statute.      N.Y. Gen. Bus. Law § 349(a) (“Deceptive acts or

practices in the conduct of any business . . . are hereby declared

unlawful.”);    S.D.     Codified      Laws    §   37-24-6      (proscribing      “a

deceptive act or practice”).           Further, the court is persuaded by

the reasoning of courts that have dismissed similar NYCPS and

SDDTPA claims on the ground that these statutes do not proscribe

nondeceptive anticompetitive conduct.              In re Lidoderm Antitrust

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Litig., 103 F. Supp. 3d 1155, 1171-72 (N.D. Cal. 2015) (dismissing

SDDTPA claim for failure to allege affirmative misrepresentation);

Nygaard v. Sioux Valley Hosps. & Health Sys., 731 N.W.2d 184, 196-

98 (S.D. 2007) (holding that allegations of mere unfairness do not

state a claim under SDDTPA); In re Pork Antitrust Litig., 495 F.

Supp. 3d 753, 782 (D. Minn. 2020) (stating that “the [NYCPS]

conspicuously    omits   anticompetitive        behavior    as    a   cause   of

action”); Yong Ki Hong v. KBS Am., Inc., 951 F. Supp. 2d 402, 420

(E.D.N.Y. 2013) (“New York has chosen not to include ‘unfair

competition’ or ‘unfair’ practices in its consumer protection

statute, language that bespeaks a significantly broader reach.”

(quoting In re Digital Music Antitrust Litig., 812 F. Supp. 2d

390, 410 (S.D.N.Y. 2011) (internal quotations omitted))); In re

New Motor Vehicles Canadian Export Antitrust Litig., 350 F. Supp.

2d 160, 197 (D. Me. 2004) (“An antitrust violation may violate

[the   NYCPS],   but   only   if   it    is   deceptive.”).       Accordingly,

Plaintiffs’ claims under the NYCPS and SDDTPA (Counts 48 and 55)

will be dismissed.

       In sum, Defendants have not met their burden                   as to the

Arkansas, Illinois, Kansas, Minnesota, North Dakota, and West

Virginia CPA claims on these grounds.          However, Plaintiffs’ claims

under the CPAs of Colorado, New York, and South Dakota (Claims 35,

48, and 55) will be dismissed.



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                    h.      Hawaii and Minnesota CPA Claims

        Defendants raise three “additional state-specific reasons” to

dismiss      the   claims    under    the    Hawaii   Consumer     Protection     Act

(“HCPA”), Haw. Rev. Stat. Ann. § 480-1, et seq., the Minnesota

Consumer Fraud Protection Act (“MCFA”), Minn. Stat. § 325F.68, et

seq., and the Virginia Consumer Protection Act (“VCPA”), Va. Code

Ann. § 59.1-196, et seq.             (Doc. 95 at 58-60.)        Because the court

dismisses the VCPA claim on other grounds, the court will only

address Defendants’ remaining arguments as to the HCPA and MCFA.

        First, Defendants contend that Plaintiffs’ claim under the

HCPA should be dismissed for failure to allege compliance with its

notification requirements.             (Doc. 95 at 58.)            The HCPA makes

unlawful “[u]nfair methods of competition and unfair or deceptive

acts or practices.”          Haw. Rev. Stat. Ann. § 480-2(a).            It imposes

a notification requirement for class action claims “other than

claims for unfair or deceptive acts or practices” — e.g., claims

for unfair methods of competition.               Id. § 480-13.3(a).20     Under the

notification requirement, “[a] filed copy of the complaint and all

relevant supporting and exculpatory materials in possession of the

proposed class representative or its counsel shall be served on

the attorney general not later than seven days after filing of the


20 The text of this provision is: “A class action for claims for a
violation of this chapter other than claims for unfair or deceptive acts
or practices may be filed, and may be prosecuted on behalf of indirect
purchasers by a person other than the attorney general as follows:
. . . .” Haw. Rev. Stat. Ann. § 480-13.3(a).

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complaint.”      Id.   This provision does “not limit the rights of

consumers to bring class actions against any person based on unfair

or deceptive acts or practices.”             Id. § 480-13.3(b).

     Plaintiffs do not argue that they have alleged compliance

with the notification requirement.              Instead, they contend that

under   Shady    Grove,   the   requirement        is    preempted     because   it

conflicts with Federal Rule of Civil Procedure 23, which has no

such pleading requirement.           (Doc. 110 at 54-55.)          Plaintiffs cite

to two courts that have so held.             See In re Aggrenox, 94 F. Supp.

3d at 253-54 (not deciding which Shady Grove opinion controls but

faulting defendant for failing to analyze the text and legislative

history to demonstrate that the notice requirement is part of

Hawaii’s “framework of substantive rights or remedies”); In re

Restasis (Cyclosporine Opthalmic Emulsion) Antitrust Litig., 355

F. Supp. 3d 145, 154-56 (E.D.N.Y. 2018) (concluding Hawaii’s

notification requirement is procedural and applying Rule 23).                    In

reply, Defendants assert that the requirement “is a built-in

limitation on the substantive right of indirect purchasers to bring

claims under the statute.”           (Doc. 124 at 36.)       Though they do not

undertake any analysis of the provision themselves, they cite to

one district court that has agreed with their view.                 In re Sensipar

(Cinacalcet Hydrochloride Tablets) Antitrust Litig., MDL No. 2895,

2022 WL 736250, at *20 (D. Del. Mar. 11, 2022) (applying Justice

Stevens’s       concurrence     to      conclude        Hawaii’s     notification

                                        71



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requirement is not preempted).

      The Fourth Circuit has recently considered the application of

a different preliminary requirement under Shady Grove, which, as

discussed supra, provides guidance on how a court should mediate

conflict between federal and state rules of procedure.                In Pledger

v. Lynch, the plaintiff filed suit against the United States under

the Federal Tort Claims Act (“FTCA”), alleging medical malpractice

under West Virginia law.          5 F.4th 511, 517 (4th Cir. 2021).           The

Fourth Circuit held that several federal civil rules preempted

West Virginia’s requirement that a would-be medical malpractice

plaintiff serve on the defendant a “screening certificate of merit”

from a health care provider in his pre-suit notice of claim.

Pledger v. Lynch, 5 F.4th 511, 518 (4th Cir. 2021).                   The court

reasoned that Federal Rules of Civil Procedure 8, 9, 11, and 12

set out the exclusive bases for stating a claim for relief and

thus, at step one of the Shady Grove inquiry, “answer[ed] the

question in dispute.”         Id. at 519-20 (citing Shady Grove, 559 U.S.

at 398).   At step two of the Shady Grove analysis — i.e., whether

the   federal   rule    exceeds    Congress’s    constitutional rulemaking

power — the defendant in Pledger did not dispute the validity of

the   federal   rules    in    question.    Id.    at   520-21.       The   court

accordingly     held    that   West   Virginia’s    pre-suit       certification

requirement did not apply in federal court.             Id. at 521.

      Importantly, the Pledger court did not address whether it

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would apply Justice Scalia’s or Justice Stevens’s approach at step

two.    Nevertheless, as a response to the defendant’s alternative

position       that    the   FTCA    “incorporates”         the     West     Virginia

certification requirement, the court did address whether it was a

substantive element of a medical malpractice claim in a way that

at least reads like Justice Stevens’s approach in Shady Grove.

Id.    at    522-23.     The   court    reasoned      that    the    certification

requirement “qualifies as ‘procedural’” because (1) it appears in

a section governing “prerequisites” and “procedures”; (2) it plays

“no role in the actual adjudication of medical malpractice claims”;

and (3) failure to comply does not speak to the defendant’s

liability.      Id. at 523 (citations omitted).

       Though the provision at issue in Pledger is distinguishable

in some ways from the HCPA notification requirement, Pledger

nevertheless supports Plaintiffs’ position. Pledger’s streamlined

step-two analysis, akin to Justice Scalia’s approach, would no

doubt       preclude   dismissal.       And    even    if     Justice      Stevens’s

concurrence      applied,    Defendants      here   have     offered    no   textual

analysis or legislative history whatsoever to support dismissal.

In re Aggrenox, 94 F. Supp. 3d at 254.                     Even so, the HCPA’s

notification requirement is codified in a provision, Haw. Rev.

Stat. Ann. § 480-13.3(a), separate from the one establishing the

basis of substantive liability, Haw. Rev. Stat. Ann. § 480-2(a),

which speaks not at all to notice.                  Pledger, 5 F.4th at 523

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(considering the location of the notice requirement in the statute,

and whether it speaks to liability, in determining that the rule

is procedural).

      Furthermore,       the    court     is    unpersuaded        by     Defendants’

conclusory position that notification is substantive in nature.

(Doc. 124 at 36.) Defendants’ only cited authority for this notion

is In re Sensipar.        The court there relied heavily upon the HCPA

notification requirement’s reference to the “right” to file a class

action,      without    any    discussion      of   whether       that    “right”    is

substantive or procedural.              In re Sensipar, 2022 WL 736250, at

*20; see Shady Grove, 559 U.S. at 408, 410 (Scalia, J.) (reasoning

that making available class actions is “incidental” to substantive

liability); Shady Grove, 559 U.S. at 434 (Stevens, J., concurring)

(observing that a rule that makes recovery easier, such as a class

action, is not necessarily substantive).                       Moreover, the In re

Sensipar court relies on Greene v. Gerber Prods. Co., 262 F. Supp.

3d   38,    61   (E.D.N.Y.     2017),    and   In   re    Nexium      (Esomeprazole)

Antitrust Litig., 968 F. Supp. 2d 367, 408-09 (D. Mass. 2013), as

suggestive       that   notice     requirements          are     “bound     up”   with

substantive rights.       In re Sensipar, 2022 WL 736250, at *20.                   Both

cases involve distinguishable provisions from the one at issue

here.      In Greene, the “notice” requirement was that the defendant

be “on notice” that his act or practice was “previously declared

to be deceptive,” not that the plaintiff himself file any kind of

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notice to pursue a class action.           Greene, 252 F. Supp. 3d at 58-

59 (analyzing Oh. Rev. Code § 1345.09(B)).             And in In re Nexium,

the statute at issue altogether barred indirect purchaser private

plaintiffs from bringing a class action and endowed only the state

attorney general with the authority to file an action parens

patriae.      In re Nexium, 968 F. Supp. 2d at 408-09 (analyzing 740

Ill. Comp. Stat. § 10/7).         Absent any other authority to support

dismissal,21 Defendants have not met their burden of showing that

Plaintiffs’ HCPA claim should be dismissed.22          See Shady Grove, 559

U.S. at 415 (Scalia, J.) (describing the “hard questions” that

federal courts must face when “assess[ing] the substantive or

procedural character of countless state rules that may conflict

with a single Federal Rule” under Justice Stevens’s approach).

        As to the MCFA claim, Defendants argue that Plaintiffs have

failed to allege (1) a benefit to the public from their cause of


21Whether the notification requirement was meant to serve some important
state interest by allowing the Attorney General to decide whether to
pursue or intervene in the action was not raised by any party, so the
court does not consider it. (Doc. 95 at 58-59; Doc. 110 at 54-55; Doc.
124 at 35-36.) When the court raised the issue at the hearing, Plaintiffs
argued that, while not knowing its purpose or effect, the requirement
was not substantive; Defendants professed they did not know, but
suggested it may allow the Attorney General to decide whether to file a
parens patriae suit. (Doc. 156 at 82-83, 84.)

22 Plaintiffs also dispute whether dismissal would be the appropriate
remedy for failure to file a notification with the Hawaii attorney
general. (Doc. 110 at 54.) While some courts have held that dismissal
would not be appropriate, e.g. Sergeants Benevolent Ass’n Health &
Welfare Fund v. Actavis, PLC, No. 15 Civ. 6549, 2018 WL 7197233, at *25
(S.D.N.Y. Dec. 26, 2018), this court expresses no view on whether
dismissal would be appropriate.


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action,      as   required   by    Ly   v.    Nystrom,   615   N.W.2d   302,    314

(Minnesota 2000), and (2) an intent by Defendants for others to

rely on the Defendants’ conduct, as required by Minn. Stat. Ann.

§ 325F.69(1).       (Doc. 95 at 59.)         The court agrees with Plaintiffs

that they have plausibly alleged public benefit, which is “not

[an] onerous” requirement.           Kinetic Co. v. Medtronic, Inc., 672 F.

Supp. 2d 933, 946 (D. Minn. 2009); (Doc. 110 at 56-57); (Doc. 78

¶¶ 212, 608 (alleging harm to competition and the public).)

        As to the intent to induce reliance, the MCFA provides:

        The act, use, or employment by any person of any fraud,
        unfair or unconscionable practice, false pretense, false
        promise, misrepresentation, misleading statement or
        deceptive practice, with the intent that others rely
        thereon in connection with the sale of any merchandise,
        whether or not any person has in fact been misled,
        deceived, or damaged thereby, is enjoinable[.]

Minn. Stat. Ann. § 325F.69, subd. 1 (emphases added).                     Notably,

the phrase, “unfair or unconscionable practice,” was                      recently

added to this provision, effective July 1, 2023.23               2023 Minn. Laws

ch. 57, art. 4, § 16.             The Minnesota legislature simultaneously

enacted subdivision 8 of the same section, which provides:

        Unfair or unconscionable acts or practices; standard of
        proof. For purposes of this section, an unfair method
        of competition[24] or an unfair or unconscionable act or

23Neither party addresses what impact, if any, the timing of the dates
of the originally-filed actions, the date of the operative consolidated
complaint, and this amendment might have. (See Doc. 95 at 59; Doc. 110
at 55-57; Doc. 124 at 36-37.)
24The MCFA does not itself proscribe “unfair methods of competition.”
Rather, this conduct is prohibited under the Minnesota Uniform Deceptive


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     practice is any method of competition, act, or practice
     that: (1) offends public policy as established by the
     statutes, rules, or common law of Minnesota; (2) is
     unethical, oppressive, or unscrupulous; or (3) is
     substantially injurious to consumers.

Minn. Stat. Ann. § 325F.69, subd. 8; 2023 Minn. Laws ch. 57, art.

4, § 17.

      “[The    court’s]   goal    in   statutory       interpretation      is   to

ascertain and effectuate the intent of the Legislature.” Roberts

v. State, 945 N.W.2d 850, 853 (Minn. 2020) (quotation marks and

citation omitted); Hagen v. Steven Scott Mgmt., Inc., 963 N.W.2d

164, 170 (Minn. 2021) (permitting a court to look to the statute’s

“text,     structure,   and   punctuation”      to     determine      if   it   is

ambiguous).

     Although     Plaintiffs      argue     that     the    MCFA     is    to   be

“generally . . . broadly construed,” Doc. 110 a 55, quoting Sheet



Trade Practice Act (“MUDTPA”), under which Plaintiffs do not plead a
claim for relief. (See generally Doc. 78); Minn. Stat. Ann. § 325D.44,
subd. 1(13) (prohibiting “(i) unfair methods of competition, or (ii)
unfair or unconscionable acts or practices”). A possible explanation
for the mention of unfair methods of competition in section 325F.69 is
that the MUDTPA cross-references the definition in section 325F.69,
subdivision 8, as the relevant “standard of proof.” Minn. Stat. Ann.
§ 325D.44, subdivision 2(b).
      The MUDTPA does not provide for damages, unlike the MCFA. Compare
Minn. Stat. Ann. § 325F.70, subd. 3 (providing for a private civil action
if injured under sections 325F.68 through 325F.70 to “recover damages”),
with Minn. Stat. Ann. § 325D.45, subd. 1 (providing only for injunctive
relief); see also Chairez v. AW Distrib., Inc., No. 20-cv-1473, 2021 WL
1600494, at *9 (D. Minn. Apr. 23, 2021) (“An injunction is the only
available remedy for the [Minnesota] Deceptive Trade Practices Act
claim.”). The damages action for violation of section 325F.69 became
available to a private plaintiff through section 325F.70 on August 1,
2023. See 2023 Minn. Laws ch. 52, art. 19, § 15.


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Metal Workers Loc. 441 Health & Welfare Plan, 737 F. Supp. 2d at

414   (alteration     added),       Plaintiffs      nonetheless    appear     to

acknowledge they must have alleged Defendants’ intent to induce

reliance to proceed with this claim, id.              The court agrees that

Plaintiffs must allege intent to induce reliance to proceed with

their MCFA claim.     Even under a broad construction of the statute,

the court is not free to disregard the plain text’s requirement of

an “intent that others rely.”         Minn. Stat. Ann. § 325F.69, subd.

1; see Bhatia v. 3M Co., 323 F. Supp. 3d 1082, 1095-96 (D. Minn.

2018) (recognizing that failure to allege intent to induce reliance

is grounds for dismissal).

      Plaintiffs assert they have sufficiently alleged Defendant’s

intent for others to rely on their representations, with the

ultimate goal of “limit[ing] the purchase levels of products

manufactured by generic manufacturers to extremely low levels.”

(Doc. 110 at 55.)       In support, Plaintiffs direct the court to

paragraphs 215 and 216 of the complaint and the statement therein

that Syngenta intended to “reward Retailers for their support of

Syngenta   products   where     a   generic   alternative     exists.”       Id.

(alteration adopted).      Plaintiffs also cite paragraphs 70, 72,

100, and 175, without elaboration.            Id.     The court notes these

paragraphs   describe    the    incentive      structure    of    the   loyalty

programs offered to distributors and retailers, as well as the

effects of the loyalty programs on generics.

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        Plaintiffs appear to be arguing that they have sufficiently

alleged      intent   to   induce    reliance   because    they     have   alleged

Defendants intended for the distributors and retailers to rely on

Defendants’ loyalty programs in shaping their own decisionmaking.

The court cannot conclude this is the intent to induce reliance

contemplated by the statute.           Whatever the outer bounds of intent

to induce reliance may be under the amended statute, construing

that     term   to    reach   an    allegedly   unlawful    incentive      to   co-

conspirators would go beyond the existing caselaw and ordinary

notions of induced reliance.            Cf. Boyd v. Target Corp., No. 23-

CV-02668, --- F. Supp. 3d ---, 2024 WL 4287669, at *10 (D. Minn.

Sept. 25, 2024) (intent to induce reliance sufficiently alleged

where plaintiffs, buyers of retailer’s products, claimed retailer

made “false representations that certain products on its shelves

were ‘clean,’” to stimulate sales of those products).                      Even in

Group Health Plan, relied on by Plaintiffs’ preferred case, 25 the

plaintiff health maintenance organizations “contend[ed] that they

were directly and indirectly injured by the tobacco companies'

conspiracy to mislead the public and the health-care industry

regarding the effects of tobacco use,” including by the tobacco


25Sheet Metal Workers Loc. 441 Health & Welfare Plan, 737 F. Supp. 2d
at 414 (relied on by Doc. 110 at 55-56). The court considers that case
factually distinguishable; that case involved “sham patent litigation”
filed by the defendant to deter competitors. Id. at 389. To the extent
that case stands for the proposition that it is unnecessary under the
MCFA for a plaintiff to plead the defendant’s intent to induce reliance,
this court must respectfully disagree.

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companies’ “deceptive statements.”                   Group Health Plan, Inc. v.

Philip Morris Inc., 621 N.W.2d 2, 4 (Minn. 2001) (emphases added).

There,   the    defendants      still      intended    for the     victims of       the

wrongdoing      to    rely   on        defendants’     representations.          Here,

Plaintiffs     only    point      to    Defendants’     efforts     to    incentivize

distributors to participate in the exclusion of generics.                           The

slippage between attempted inducement of reliance in an intended

victim and incentivization of a co-conspirator is fatal to this

claim.   Plaintiffs’ claim under the MCFA will thus be dismissed.

           3.        Statute of Limitations as to Paraquat

      Finally, Defendants contend that Plaintiffs’ claims “as they

pertain to Syngenta’s AI paraquat” should be dismissed as time-

barred because        paraquat “has not been included in Syngenta’s

loyalty program since before October 2017.”                  (Doc. 95 at 60.)        In

support, Defendants cite to an FTC order in connection with the

merger of Syngenta AG and ChemChina which requires Syngenta to

exclude paraquat from its loyalty rebate program by no later than

October 1, 2017.        (Id.)      While the complaint contains no express

allegation of when paraquat was part of Syngenta’s loyalty rebate

program, the court cannot consider contestable factual allegations

by Defendants — such as the extent of their compliance with the

FTC order — on a motion to dismiss, even if the court took judicial

notice of the order.         Justice 360 v. Stirling, 42 F.4th 450, 455

(4th Cir. 2022) (allowing for judicial notice of “matters of public

                                           80



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record” (internal quotation marks omitted)); see Couch v. Clarke,

782 F. App’x 290, 291 (4th Cir. 2019) (noting that judges may take

judicial notice of “facts not proven in the record that are ‘not

subject to reasonable dispute’”).        Accordingly, while Plaintiffs

do not appear to suggest that these claims will ultimately be

successful, given the procedural posture of the case the court is

constrained to deny Defendants’ request to dismiss Plaintiffs’

claims as to paraquat.

III. CONCLUSION

     For the reasons stated, therefore,

     Defendants’ motion to dismiss (Doc. 94) is GRANTED IN PART

and DENIED IN PART as follows:

     1.   Defendants’    motion   to     dismiss    Plaintiffs’      federal

          damages claims under the First, Second, and Third Claims

          for Relief is GRANTED and those claims are DISMISSED as

          barred by Illinois Brick.

     2.   Defendants’ motion to dismiss Plaintiffs’ claims for

          federal injunctive relief under the First, Second, and

          Third Claims for Relief for failure to plead proximate

          causation is DENIED.

     3.   Defendants’    motion   to    dismiss    for   failure   to   plead

          proximate causation in support of state antitrust and

          consumer protection claims is DENIED.

     4.   Defendants’ motion to dismiss claims under the laws of

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         Arizona, Colorado, Connecticut, District of Columbia,

         Hawaii, Iowa, Kansas, Maine, Maryland, Massachusetts,

         Michigan,    Minnesota,          Montana,      Nebraska,       Nevada,     New

         Hampshire, New Mexico, New York, North Carolina, North

         Dakota, Oregon, Pennsylvania, Puerto Rico, Rhode Island,

         South Carolina, South Dakota, Utah, Vermont, Virginia,

         and West Virginia, for failure to allege in-jurisdiction

         purchases by named Plaintiffs, is DENIED.

   5.    Defendants’ motion to dismiss claims under the New York

         Donnelly    Act    (Claim    21)     and       New    Hampshire       Consumer

         Protection    Act     (Claim       46)        for    failure     to     allege

         sufficient intrastate conduct is DENIED.

   6.    Defendants’ motion to dismiss the claim under the Puerto

         Rico Antitrust Act (Claim 25) for lack of an Illinois

         Brick repealer is DENIED.

   7.    Defendants’       motion    to    dismiss       the    claims    under    the

         consumer     protection      laws        of     Arkansas       (Claim    33),

         Illinois (Claim 39), Montana (Claim 43), South Carolina

         (Claim 54), and Utah (Claim 56) on the grounds of state

         class-action bars is DENIED WITHOUT PREJUDICE to address

         the applicability of Shady Grove on a more developed

         record.

   8.    Defendants’ motion to dismiss claims under the consumer

         protection laws of the District of Columbia (Claim 36),

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         Missouri (Claim 16), Montana (Claim 43), Oregon (Claim

         51), Pennsylvania (Claim 52), Rhode Island (Claim 53),

         Utah    (Claim     56),    and    Virginia    (Claim      57)   because

         Plaintiffs are commercial consumers of CPPs, is GRANTED.

   9.    Defendants’       motion    to    dismiss    the   claim    under    the

         Massachusetts Consumer Protection Act (Claim 41) because

         Plaintiffs are not “consumers” under section 9 of that

         Act    and   indirect      purchaser   claims      are   barred   under

         section 11 of that Act, is GRANTED.

   10.   Defendants’ motion to dismiss claims under the consumer

         protection laws of Arkansas (Claim 33), Illinois (Claim

         39), Kansas (Claim 40), Minnesota (Claim 42), North

         Dakota (Claim 50), and West Virginia (Claim 58) for

         failure to allege a deceptive act, is DENIED.

   11.   Defendants’ motion to dismiss claims under the consumer

         protection laws of Colorado (Claim 35), New York (Claim

         48), and South Dakota (Claim 55) for failure to allege

         a deceptive act, is GRANTED.

   12.   Defendants’       motion    to    dismiss    the   claim    under    the

         consumer protection law of Hawaii (Claim 38) for failure

         to comply with the notification requirement, is DENIED.

   13.   Defendants’       motion    to    dismiss    the   claim    under    the

         consumer protection law of Minnesota (Claim 42) for

         failure      to   allege    attempt    to    induce      reliance,    is

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          GRANTED.

    14.   Defendants’ motion to dismiss Plaintiffs’ claims “as

          they pertain to Syngenta’s AI paraquat” for being time-

          barred, is DENIED.


                                    /s/ Thomas D. Schroeder
                                 United States District Judge

January 28, 2025




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